Case 3:23-cv-22130-MCR-ZCB   Document 155-19   Filed 03/14/25   Page 1 of 9




         Exhibit 18
(   .                                                                                                                                                                                                 1
                     Case 3:23-cv-22130-MCR-ZCB                                              Document 155-19                    Filed 03/14/25                      Page 2 of 9



           EMERGENCY NUMBERS
            TO REPORT FIRE·SERIOUS INJURY·ILLNESS·
            MAJOR UTIUTY FAILURE
           · From U Hospitals Patient·Occupied Buildings, , ... ·.123
             From All Other Campus Locations. . . . . . . . . . . . . : 133
             From Off Campus Locations                                  911
                                                                                                           University
    ,     ' Other Emergency Services (24-hour numbers)*
            University Police                            373·3550
                                                                                                           of Minnesota
            Medical Emergency (U Hospital)               373~8000
            Ambulance                             Mpis. 348·2345
                                                St. Paul 224·7371
                                                                                                            1985-86
            Drug Emergency           ,                   339·7033
            Legal Assistance                             339·7033
          · Poison Treatment...................... 347·3141
                                                                                                            Student-Staff
            Psychological Counseling                     339·7033
            Suicide Prevention
            YES
                                              ,          347·2222
                                                         339·7033
                                                                                                            Director'Y
           •For more information, see the Directory of 5ervices beginnilg on PIll' 6
              \


        UNIVERSITY TELEPHONE NUMBERS                                                                 TABLE OF CONTENTS

        University Information (off·campus callers)                                       373·2851   Maps                                                                      (           2
        University Information (on-campus callers)                                        373·2002     Campus Transit System                                                               2
        University Hospitals Information                                                  373·8484     Twin Cities/Minneapolis                                                             3
        Aight Facilities, Mpls. (55432)                                            (612) 784·1444      Twin Cities/St. Paul.                                                               4
        Hormel Institute, Austin (55912)                                           (507)' 433·8804   Dialing Instructions. . . '.' . . . . . . . . . . . . . . . . . . . . . . . . . . . . 5
        U of M, Duluth (55812)                                                     (218) 726-8000    Directory of Services'                                                                6
        U of M, Morris (56267)                                                     (612) 589·2211    DIAL Tapes                 ,                                                          8
        U of M Technical College,                                                                    Student Organizations. . .. . . . . . . . . . . . . . . . . . . . . . . . . . . 10
          Crookston (56716)                     ::.'                               (218) 281-6510    University Calendar............................... 12
        U of M Technical College, Waseca (56093)                                   (507) 835·1000    University Organization. . . . . . . . . . . . . . . . . . . . . . . . . . . . . 13
        Branch Stations:                                                                             Board of Regents. . . . . . . . . . . . . . . . . . . . . . . . . . , . . . . . . 13
          Cedar Creek Natural History Area,                                                          Council of Academic Officers. . . . . . . . . . . . . . . . . . . . . . . . 13
            Bethel (55005)                                                         (612) 434·5131    Senate Members. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 14
          Cloquet Forestry Ctr, Cloquet (55720)                                    (218) 879-4528    Committees. . . . . . . . . . . . . . . . . . . . . .'. . . . . . . . . . . '. . . . 14
          Horticultural Research Ctr,                                                                Building Abbreviations. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 15
            Excelsior (55331) .. !                                                (612) 474·6886     Department Directory                                                                 17
          Lake Itasca Forestry &Biological Station,                                                    Minneapolis·St. Paul............................. 17
            Lake Itasca (56460)                                                    (218) 266-3691      Duluth                                                                             66
          North Central Experiment Station,                                                            Morris                                                                             71
            Grand Rapids (55744)                                                   (218) 327·1790      Crookston . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 74
          Northwest Experiment Station,                                                                Waseca                                                                             75
            Crookston (56716)                                                     (218) 281·6510     Staff Directory                                                                      77
          Rosemount (55068):                                                                         Student Directory                                                                  213
            AgriCUltural Experiment Station                                        (612)423·1491     Yellow Pages                                               (at end of Directory)
            Rosemount Research Ctr,
              Business Ofc                  '.'                                   (612) 423·1118
          Sand Plain Experimental Field,
                                                                                                     Cover photo by Tom Foley, University Relations
            Becker (55308)                                                         (612) 261-4063    Cover design by Jim Erickson, Media Resources
          Southern Experiment Station,
            Waseca (56093)                                                         (507) 835·3620
          Southwest Experiment Station,                                                              This Directory Can Be Recycled As Newsprint
            Lamberton (56152)                                                     (507) 752·7372
                                                                                                     The University of Minnesota is committed to the policy that all persons shall have equel ac-
          West Central Experiment Station,                                                           cess to its progrems, facilities, end employment without regard to race, religion, color. sex,
          · Morris (56267)         :                                              (612) 589·1711     netional origin, handicap, age. or veteran status.
                         Case 3:23-cv-22130-MCR-ZCB                                                          Document 155-19                                  Filed 03/14/25                                   Page 3 of 9

                                                                                                                                                                                                                                                     305
     KIllStIIK Joseph Mark 87 AG                      452·3134    KROONA Heether Bella GRAD :                   642-9745     KRUMPEUIANN Joseph Tho 89 IT                            722-4084    KUEBELBECK Kimberly An 88 CLA           488-0057
      1838 K8Ihryn Cir Eagan 55122                                 2157 Commonwealth St Paul 55108                            5209 Shoreview Ave Mpls 55417.                         .             1095 W Hoyt St. Paul 55117             .'
     KJlISPIN Sean James 89 IT                                    KIlOON8I.AWD Paul Allen 86 IT                 483.0469     KRUPP Amt Susan GRAD               ;                    331-4246    KUEBELBECK Timothy Joh 89 GC            922·7878
      R 2 Box 109 Holcombe WI 54745                                155 E UttIe Cancada Rd 2 St Paul 55117                     1100 .18th Av Sel3 MpIs 55414                                        5613 Grove St Edina 55438
I    KIiiSS Margaret R GRAD                          926-4120     KROSCHEL David Mark 89 MED                                 KRUSE Craig David 87 ClA                                483--5677   KUEBER Rose MlI/Y GRAD                  644-5628



,
      4319 Zenith AVe S MpIs 554Hl                                 78 Many levels Rd DeRwood 55110                            1379 E Coonty Rd C Maplewood 55109                                   1387 Summit Ave SI Paul 55102
     KRlSTAL David A 87 BUS                  452-5573             KROSHUS Tlfl10thy Jay 86 B1OSC                641-0800     KRUSE Gregory ARen 88 FOR                                           KUECHLE Janelle M Kres 87 CLA           545-1076
       1044 Overlook Rd St Paul 55118                              1118 R~h SI Paul 55108                                     5932 cavell Ave N NfIfIl-lope 55428                                  1130 Forestview ln Plymouth 55441
     KRlSTAL Jody Beth 86 CLA                452·5573             KROSSCHELL Lisa Sue 88 HE                     831-1933     KRUSE James A89 CLA                                                 KUECHLE Judith Agnes GRAD               894-1738
      '1044 Overlook Rd St Paul 55118                              10133 Harrison Rd Bloomington 55437                        7626 Blaisdell Ave S Richfield 55423 .                               3809 E Sibley 1203 8ImsviIIe 55337
     KRJS:l'O Steven John 87 DENT            332-4225             KROUGH Judy Carole 88 VET M                   644-3161     KRUSE James Douglas 89 AG                                           KUECHLE Maria Carolyn 87 IT             571-4862




                                                                                                                             =
       2329 S 9th SI 1218B Minneapolis 55406                       1905 W l.arpent8U' SI Paul 55113                           750 4th SI Wells 56097                                              .202 Mercury Or Fridley 55432
     KRlTTA Danial Thomas 86 IT                      636-6518     KROUSE Patricia Jean 86 CLA                   871·2434     KRUSE Jennifer Reynold 89 HE                                        KUECHLE Shari lynn 89 ClA

I     2921 M8ITiII SI Roseville 55113
     KRITTA James M 89 GC
      2921 Merrill SI Roseville 55113
                                                     636-6518
                                                                   610 W Franklin A 1301 Mpis 55405
                                                                  KRUCHOWSKI Jeanne M 89 IT
                                                                   ComstocI< Hall Mpls 55746
                                                                                                                              6096 l50th St Se Prior lake 55372
                                                                                                                             KRUSE Julie Ann 89 AG
                                                                                                                                    ~~dM~~.~.5.S.1.1.3                788-2292
                                                                                                                                                                                     484-8579
                                                                                                                                                                                                   2505 Xylon Ave N Golden Valley 55427
                                                                                                                                                                                                 KUECK Brian Dale AS MED
                                                                                                                                                                                                   404 9th St Se Mpis 55414
                                                                                                                                                                                                 KUECKER Ms Alan AS IT
     KRITTA Jellrey Allan 87 IT                                   KRUCHOWSKI l.isll A 86 CLA
                                                                   4281 No Svensk In Eagan 55123
I     2921 Merrill St ROS8YiI1e 55113
     KRIVA Lm. Sigrid GRAD
      7140 Glenwood Av Golden Valley 55427
                                                     548-6584     KRUCHTEN Michael Josap 88 IT
                                                                   1077 23«1 Ave Se Mpls 55414
                                                                                                                331·7022
                                                                                                                              1038 44 1/2 Ave No Columbia Hgts 55421
                                                                                                                             KRUSE lynne Marie 87 CLA
                                                                                                                              1596 Hewitt Ave St Paul 55104
                                                                                                                                                                   ;; 645-8737
                                                                                                                                                                                                   R 2 lot 34 Oronoco East Oronoco 55960
                                                                                                                                                                                                 KUECKER Glen David AS ClA
                                                                                                                                                                                                   2300 Mouol V_ Ave Mpls 55405
     KRIVANEK Thomas Earl 89 GC                                   K~a':~~~~4 89 ClA                             823-4020     KRUSE Margaret N GRAD                    724-6605                   KUEFFER James Steven 86 IT              644-5487
                                                                                                                                                                                                  K~~s.::;t= :~
      Route 1 Box 200 Swanville 58382                                                                                         2317 Minneapolis Av S Mpls 55408
     KRMT Kimfrancine 88 AG                          378-7955     KRUCH'llN Shirley H AS MEDTC                               KRUSE MIllY Helen GRAD                   338-7394                                                             728-8431
      Bailey Hall 1424N UlM St Paul 55108                          666 Idaho Ave E St Paul 55106   .                          110 Granl Apl24A Minneapolis 55403,                                 '1500 Failawn Way Mpls 55416
    I(RMTSKY Michael Jose 89 ClA                     m·n83        KRUCKEBERG Grant Dee 89 ClA                                KRUSE Nanciann Zimnitt GRAD              724-8605                   KUEHBORN Richard M'ocha 86 ClA            488-3839
      708 E Atlngton Ave St Paul 55108                             920 S Jefferson New \JIm 56073                             2317 Minneapolis Av S MpIs 55408                                     254 W Ivy Ave SI Paul 55117 .
    KAll MaIy C GRAD                      .-         721-1961     KRUEGER Amt Eizabeth AS ClA                   7214426      KRUSEU Karen Marie 89 GC                 780-3836                   KUEHL Kelly James 88 GC                   452.()097
      5138 18111 Av S Minneapolis 55417                            4166 Burton Ln MpIs 55408                                  5200 Greenfield Ave New Brighton 55112                               3155 Coachman Rd 13128 Eagan 55121
    KRIIPOTICH Sharon Ann GRAD                                    KRUEGER Charles T GRAD                        235-3970     KRUSZ Tawney J~I 89 ClA                  890-5893                   KUEHL Michele Jean 86 CLA                 424-8491
    KROCIlESI(l Theresa Jane 88 HE                   331-7276      615 Oakridge Ct Menomonie WI 54751                         12844 1st Ave South Burnsville 55337                                 6520 Meadowtark Ln N Maple Grove 55389
      52611th Ave Se Mpls 55414                                   KRUEGER Craig Alan GRAD                       824-7193     ~~E~8~~ ~~s54·i4                ....·........·..·....               KUEHMICHEL Kathie Ann 87 HE




                                                                                                                                     =
                                                                                                                                                                      379-7592
    KROCHOCK Gwenda lynn GRAD                        698-81.7      3501 lyndale Ave S 1201 Mpis 55408                                                                                              2177 Knapp St 12 SI 'Anthony Pk 55108          \
      1531 Eleenor St Paul 55116                                  KRUEGER Dann Fredrick 86 BUS                  881-8937     KRUZESKI VICtoria Mali 88 ClA               •                       KUEHN David Donald 87 BUS                "373-6933
    KROCHOCK Sondra Beth 88 ClA :                    698-8197      8353 l ' Ave So Bloomington 55431                         KR~CH Debbie lynn 89 HE                                 881-1192      701 Fulton St Se 1338 U Of M/Mpis 55455
                                                                  KRUE~ William 89 etA
                                                                                                                             ~b~           =:\r.:.~~
      1531 EIeenor Ave SI Paul 55116                                                                            731-4151                                                                         KUEHN Michael A 89 IT
    KRODEL Ka~ Joseph 87 BUS                         825-4219      2323 Amberwood Woodbury 55125                                                                                     784-3483      120 Park Ave Mahtomedi 55115
      3411 Girard Av S Mpls 55408                      .          KRUEGER Deborah Jean 86 HE               545-8660           7405 Concerto Crv Friday 55432                 .                   KUEHN Michelle Marie 89 CLA
    KROEGER Brian Jay 87 CLA            ,            m·7085        410 VIIleWOOd Ln Plymouth 55441                           KRYNSKI Julie Marie 88 CLA               927-6758                     8313 Jacobs Way Madison WI 53711
      2806 E Me Ave N St Paul 55109                               KRUEGER Earl Oscar F1e 88 IT            455-7972            4120 Webster Ave S Mpls 55416                                      KUEHN Patricia Anne 86 VET M              489-8301
    KROEGER Catherine Pier GRAD                      227-4505      4170 66th St E Inver Grv HIS 55075                        KUBA Vaneeta 88 HE                       831·2337                     9838sandhurst Or Rosevine 55113
      19 Kenwood Pkwy St Paul 55105         .                     KRUEGER Elizabeth Kay AS ED              881-8937           1690 W Hwy 38 ApI 319 RosevIlle 55113                              KUEHN Steven J GRAD         ~             288-5065
    KROEHLER Ronald GIllY 89 CLA                     378-0892      ~53 Irving Av S Mpls 55431                       y        KUBAU David Alan 86 ClA                  645-5305                     4102 14th Ave Nw Rq:hester 55901
      608 Taylor SI Ne Mpls 55413                                 KRUEGER Eizabeth MlI/Y 88 ClA            854'6050           1630 Eustis 17 SI Paul 55108                                       KUEHN Summer Joy 89 CLA                   339-8672
    KROEHNERT Deborah l 87 CLA                       533-9279      8423 Columbus Ave South BIoomingIon 55420                 KUBAU Kent Richard 89 DENT                                            1807 Washington Av S 1204 MinneepoIis 55454
      3300 Yates Ave. No. Qystal 55422                            KRUEGER Gerda 86 ClA                     788-8488           701 Silver St Mapleton 56085                                       KUEHNE Marlin Rollert GRAD                890-8018
    KROENING Caroline Mali 88 ClA                    568-1075      1033 No 281tl Ave Mpls 55418                              KUBAT David Mark AS IT                                                14912 Oak Ave So Burnsville 55337
      9OO-8Olh Ave No Brooklyn Park 55444                         KRUEGERJaannette Mali 87 CLA            457·9172            393 Old Hwy 8 1302 New Brighton 55112                              KUEHNEL Pater Michael 89 GC               379-1649
    KROENING David l 89 ClA                          331-4839      926 DeIawere WSt Paul 55118                               KUBAT Terrance E 86 IT                   771-5675                     516 Univ Ave Se Mpls 55414
      1073 18111 Ave Se Mpls 55414                                KRUEGER Jaffrey Rollert 86 BIOSC        338-1037            565 Gotzian St P8IA 55108     •                                    KUEHNL Barbara Katheri 88 GC              738-7071
    KROENING Donna 86 CLA               :            537·5464      2104 22nd Ave S ApI 13 Minneapolis 55404                  KUBERKA Dannie Jo 89 ClA                 331·1841                     2307 Amberwood Dr WQOdbury 55125
      8400 50th Ave N New Hope 55428      .                       KRUEGER Julie Elizabet 89 GC                                1127 4th St Se I 4 Mpls 55414                                      KUELBS James Todd 87 BUS                  482-8313
    KROENING James Martin 87 IT                      838-7224    - 2938 Northview Ad Mtka Beac:h 55381                       KUBERSKI Craig RandaB 87 BUS             484-4038                     250 Grandview Ave 1367 Roseville 55113
    K=v~'ii 8~hlll".~~~.~~
                                                                                                                                                                                                                                        .
                                                                  KRUEGER Kathleen Dolor GRAD             941-7286            589 Ame< Ave Shoreview 55112 •                                     KUELBS Kim Elizabeth 86 CLA               757·9696
                                                     331-4839      11160 Anderson lk Pwy 208 Eden Praiie S5344               KUBERSKI Jutre Ann 86 ClA                484-4038                     1821 105th Ln Nw Coon Rapids 55433
     1073 18111 Ave Se Mpls 55414                                 KRUEGER Kelly Ann 89 ClA                378-6568            589 Ame< Ave Shoreview 55126
    KROENING Kathy Ann 87 CLA                        339-5489      12445 Ofchipwe Ave Stillwater 55082                       KUBES Joseph JoIln 88 LAW                844-7860                   K~=~ ~~ 55405.374.1778
     917 24th Ave S Mpls 55406                                    KRUEGER Linda lou GRAD                   540-3768           92 Exeter PI St Paul 55104            .                            KUEMPER MlI/Y Patricia 87 BUS                 :. 729-1934
    KROENING Rebecca Ann 88 ClA                      872'()377     10009 Belmont Rd MinnetOllka 55343                        K~= ~a~5~~C                              644-7860                    4437 40th Ave So Mpls 55408
     1901 Hennepin Ave 122 Mpls 55403                             KRUEGER lisa Jodi 88 GC                  537-0084
    KROENING Suzanne Marie 86 ClA                    872-8497                                                                                                                                    KUENG Jeffray Stephen GRAD                       842·1919
                                                                   3807 56th Ave N Brooklyn Ctr 55429                        KUBESH Beth Marie 89 GC           _       523-103'                   1029 Raymond Ave 13 St Paul 55114
     125 W Granl SI. 1204 Mpls 55403                              KRUEGER MIllY Christine 88 ClA          721-4823            RI 2 Box 19 Olivia 56277                                           KUENNEN David Vernon 88 CLA
    KROENING Tony lee 86 ED .." .. .1..              379'()o56     3516 20th Ave S Mpls 55407                                KUBESH John Thomes 87 1T..                648-2OOO
     8108111 St Sel17 Mpls55414                                   KRUEGER MattMw CIlarte 89 GC            473-8919            2060 CMer Ave St Paul 55108                                         12083 Crocus St Coon Rapids 55433
    KIlOGAN Mark Steven 89 GC                        929-8244      2762 Morningside Rd long Lake 55356                       KUBESH Mark KennetII86 AG                 523-1039                  KUENZI Rollert Paul 86 ClA
                                                                                                                                                                                                  338 West 3«1 St Oconomowoc WI 53086
    . ~~~ ::=:a1T            55438
     Comstock Hall U Of M Minneepolis 55455 •
                                                                  KRUEGER Nancy Enen 87 ClA
                                                                   2413 Middleton Beach Middeton WI 53562
                                                                  KRUEGER Paul D 88 LAW
                                                                                                          238-5911

                                                                                                          379-1523
                                                                                                                              Rt 2 Box 19 Olivia 56277
                                                                                                                             KUBIAK MIllY E GRAD y
                                                                                                                              13761 Tomahawt< Dr So Afton 55001
                                                                                                                                                                       438-5470                  KUENZLI Slephen Thomas 86 IT
                                                                                                                                                                                                  4611 Drexel Ave Edina 55424
                                                                                                                                                                                                                                                  926-8061

                                                                                                                                                                                                 KUEPPERSDaniei Joseph 88 CLA                     644·3718
                                                                  K~~~~~\ :OV~~~
    KROGER John Bruce 88 CLA                  535-3295                                                                       KUBIAK Patrick Mark 86 ED               :'339.0439
                                                                                                                                                                                                  1727 N Hemline Ave St Paul 55113
    ~~~8~C5~.~8.:
                                                                                                                544-1648      1530 S 6th SI Apt 001 MipneapoIis 55454
                                                     482.7717      10009 Belmont Rd MInnetonka 55343                         KUBICEK Brian Alan GRAD                   429-1576                  KUETIn Steven Paul 87 CLA            ,           228-9415
                                                                                                                                                                                                  550 Summit Ave ApI B St Paul 55102
    ~~~C~~.1~
                                                                                                                              4032 Cranbrook Or WI1ite Bear La 55110




                                                                                                                                                 =..
                                                                  KRUEGER Richard Eric 88 ClA                   890-1329
                                                     482_n17       717E 131st 5t Burnsville 55337                            KUBICEK James,l86 AG                      644·1366                  KUFFEL Christopher lee 86 CLA                    722-5297
     4219 Highland Or SI1onl\liew 55112                           KRUEGER Robin Marie 89 ClA                    548-0712      3229 Pteasant Ave S Mpls 55408                                      2825 34th Ave So Minneapolis 55408
    KROHN Brian Ralph 86 IT..                        784·3337      2213 Oakland Rd Minnetonka 55343                          KUBICEK Mark Richard GRAD                 932-8396                  KUFUS Kathryn Modrow 86 PH                       778-9603
                                                                                                                                                                                                  1582 Reaney Ave St Paul 55108
                                                                                                                             K~~W~~                         s.~~
     2408 Brighton ln New Brighton 55112                          KRUEGER Ronald Allen 89 MED                   922-5378
                                                                                                                                                                                                 KUGA Tomohiro 88 CLA
    KROHN Jon CIwistopher 87 CLA
     712 W Franklin Ave 18 Mpls 55403
                                                     871-6806
                                                                  KW:Gi~~veAn~G~~' 55410                                      3053 Pine Ridge Or Eagan 55121
                                                                                                                                                                            452.3867
                                                                                                                                                                                                  2234 Ulysses St No Minneapolis 55418
    KROHN Judith GFIAD                                             330 8th Ave No So St Paul 55075                           KUBIK MlI/Y lynn 86 CLA                        642.()125            KUHENS Teresa Jean 89 FOR
     15 Intertachen Or Tonka Bay 55331                            KRUEGER Sheri Ann GRAD                          282-6747    2415 Doswell Ave SI Paul 55108                                      1378 Almond Ave St Paul 55'108
    KROHN ~ Ruben GRAD........................       845-3797      Rr 11 Box 71 Zumbro Falls 55991                           KUIIlSIAK David 88 IT                                               KUHFELDT Kirk Allen 88 LAW,                      224·7317
     1022 Manvel SI 18 SI.Paul55114                               KRUEGER Stacia lynn Il8 CLA                     920-2466    1615 S 4th S Im2601 Mpis 55454                                      457 Holly St Paul 55102
    KROIINIIE/lG,Batly lou 86 CLA                    373·6831      2223 France Ave S SI. louis Par 55416                     KUBITSCHEK William Goo 88 AG              .... 722.()839            KUHL Brenl Allen 88 FOR             ............ 398-2605
     417 WaJnuI St Se MinneapoIi$ 55455                           KRUEGER StepI1en Donald 89 ClA                              3034 45th A S Mpls 55408                                            4215 lee SI Red WII1g 55066
    KROLL ArK*fIfI Jay 89 AG                         469-4237      145 SllJdywood Ln Delano 55328                            KUCALA Joseph David 86 BIOSC ....... ......... 521·3927             KUHL David Douglas 87 CLA                        331·7590
     9794 250th St West Lakeville 55044                           KRUEGER Stephen Paul 86 CLA                                 3438 Bryant Ave N Mpls 55412                                        929 51h St Se Mpls 55414         .
    KROLL David Alexander AS CLA
     10152 lyndale Ave. S Bloominglon 55420
                                                     881·7m       KRUEGER Vicki Colleen 88 LAW
                                                                   7309 Chowen A N BrookItn Pk 55443
                                                                                                                  561·2335   K~~~~~=~.~.5542i                               572-8S46             KUHL Kathleen Teresa 88 ED
                                                                                                                                                                                                  915 University Ave Se Mpls 55414
                                                                                                                                                                                                                                                  331-4338

    KROLL JolIn David 86 IT                          831'()304    KRUEGER Wallace Marlin 89 GC                    331-3576   KUCERA JuIe GRAD                             379-9372               KUHl Kim Denise 88 CLA
     10407 Morris Ad Bloomington 55437 •                           611 6th St Se MinneaPOliS 55414                            326 6th Ave Se 1109 Mpls 55414                                      1100 Como Ave MpIs 55414
    KROLL Kai Ku~ Kipp 89 ClA                        934-2827     KRUG Hollis Elaine AS MED        \                         KUCHENllEISTER Denris D 89 ClA               489·1853               KUHL MlI/Y Krisline 89 CLA             ..        935-5964
     5217 W MiN Rd Mtka 55345                                      2150 Knapp 5t St Paul 55108                                1620 Maywood SI Paul 55117                                          5008 Mayview Rd Minnetonka 55345
    KROLL Kayne Kim 88 ClA           ,               473·2833     KRUGER Eric Lansing GRAD..........           .. 544-5909   KUCHERA Richard Gregor 86 IT ..,             777-4852               KUHUlAN Cynthia Ann 86 ED                        822-8401
     60 S Stubbs Bay Ad Maple Plain 55359                          12235 B Hgwy 55 Mpls 55441                                 2574 Oak Or WMe Bear La 55110                                       2930 Blaisdell Ave. S. 11 Minneapolis 55408 .
    KROLL Paula Elaine 86 ED                         788-7019     KRUGER Jill DIane 87 HE ;                       424-5354   KUCHERA Susan M Lawles 87 NURS .......... 568-3308                  KUHLMANN E~een Margar 88 ClA                     373-6149
     505 Min St Ne Columbia HIs 55421                              11975 71s1 PI N Maple Grove 55389                          2358 Upton Ave N Minneapolis 55411                                  615 Fulton St 1833 U/M Minneapolis 55455
    KROLL Rollert Alan 88 VET M                      699·2087     KRUGER JolIn Milo GRAD                          647-9784   KUCHERA Thomas Patrick 88 IT          ...... 777-4852               KUHLMANN MIllY S 89 CLA                     : 331-6108
     1383 N Pascal St St Paul 55108                                1415 Cleveland Ave N St Paul 55108                         2574 Oak Dr White Bear lk 55110                                     1110 5th St Se Minneapolis 55414
    KROMER Dana Anan 86 IT                     ..    823.0026     KRUGER Lorio Ann 88 CtJ, ...             .... 535-2596     KUCHlBHOTLA Prasad Meh GRAD                  645-8121               KUHUWlN Nora Louise 87 NURS                      379-1971
     1322 W32nd St Minneapolis 55408                               4201 Aquila Ave N New Hope 55426                           1991 Knapp Ave W-l St Paul 55108                                    607 Erie St Se Minneapolis 55414
    KROIlER Karan Marie 89 CLA                       473-1783     KRUlZE Glen Henry Jr 89 IT                                 KUCHTA Douglas Allan 89 IT                   288-2482               KUHLMANN Steven Vernon 89 CLA ........ .... 783-6033
    K::':~~~~~~.
                                                                   3847 74th St E Inver Grv HIS 55075                         1716 Sw 5th SI 1307 RocIIester 55902                                1815 County Ad 22 Alexandria 56308
                                                    ..544-334p    KRULAS Dawn Maria 88 ClA           •                       KUCK Judith Lvnn 88 CLA                                             KUHLMANN Timothy Wilso GRAD                      874·1993
     1700 Fairfield Rd S Minnetonka 55343                          16228 1/2 Ave Se Rochestsf 55904                           3090 Farrington Ct Roseville 55113                                  2550 3rd..Av S 1103 Mpls 55404
    KRONA Mali Beth 87 HE                            488-4479     KRUMBIEGEL Kristin Ell 88 CLA                              KUCKENBECKER Tami lyn 87 BUS                                        KUHLMEYER Janel S AS ED                    .. 454·7262
     1084 MaIy Ln SI Paul 55117
    KRONE8USCH Stepllanie M 86 CLA
     1721 Univ Ave Se Minneapolis 55414
                                                .... 331·1020
                                                                   5702 Taychopera Rd Madison WI 53705
                                                                  KRUMHOLZ Michael James 86 DENT... ... 823-9752
                                                                   606 Erie St Mpls 55414
                                                                                                                              4524 Woodbine ln Brooklyn Cntr 55429
                                                                                                                             KUCZA Michael Anthony 86 FOR
                                                                                                                              2141 Adirondack SI Duluth 55811
                                                                                                                                                                          727-6415
                                                                                                                                                                                '
                                                                                                                                                                                                 K:~ ~;~~5~.'~~
                                                                                                                                                                                                  3433 Aldrich Ave S Mpls 55408
                                                                                                                                                                                                                                   .   ....... 824-4181
    KRONEIIIIEIlG Marilyn Kay 87 ClA                 339·9335     KRUMHOLZ Sheila Rose 88 ClA...       ......... 451-9412    KUDEBEH Kelly Jo 89 CLA.........       ..... 571-9501               KUHN Eileen Mari GRAD               .         644-4266
     1400 2nd St S I b209 Mpls 55454                               916 Truman Owatonna 55060                                  1680 Camelot ln Fridley 55432                                       1840 Ashland Ave SI Paul 55104
    KRONLOKKEN Kristen lor 88 IT .........      .... 928-8095     KRUIlII Blair Dou!ltas 89 CLA                              KUOEBEH Steven Douglas 86 BUS.............. 780-3505                KUHNE JolIn David 86 CLA                      545-9056
     5908 Ashcroft Ave Edina 55424                                 3208 S Garlield Sioux Falls 57102                          5148 Red Oak Dr Mounds View 55112                                   11900 Meadow ln West Minnetonka 553,43
    KROIIl.OKKEN paui James 87 BUS                   831-8673     KRUilM John Charles GRAD.                  ... 379-4545    KUDERER Rollert E 87 CLA                     378.()843              KUHNEN Sarah Alexandra 89 CLA           : 822-1666
     10048 Nord Rd Bloomington 55437                               840 18th Ave Se 1203.MpIs 55414                            425 13th Ave Se 1205 Minneapolis 55414                              3021 James Ave S 11 Mpls 55408
    KRONZSl Joseph Paul 86 IT                        831·9044     KRUMM Teresa loraine 87 CLA ........          .888-0750    KUOERKO Joseph Max GRAD                                             KUHNLY Kirsten Meredit 87 CLA
     ~~~ei~i'3
                                                                   10737' Xerxes Ave S Bloomington 55431                      2621 Dupont Ave South Minneepolis 55403                             3280 72nd St E Inver Grv HIS 55075
                                                                  KRUMMEL Karen Ann 86 CLA.                     .331-8732    KUDRONOwlCZ JoIln Wayne 89 GC                338-4001               KUHNS Mark Duane 86 IT           .            835-2628
      326 SlhAve. Se. Mpls 55414                                   826 5th SI No Mpls 55413                                   1901 Minnehaha Minneapolis 55454                                    Box 86 Trego WI 54888

                                                                                                                                                                                                 KRISNIK - KUHNS I STUDENT
               Case 3:23-cv-22130-MCR-ZCB                                                         Document 155-19                                   Filed 03/14/25                               Page 4 of 9

 306                                                                                                                                            .
 KUHNZ Connie Jo 88 CLA

'K~=~~~~.~ ~.I.~.I ..... ~
  7320 GaIiger Dr 1307 Edina 55436
 KUISL£ Tammy lynn 86 ED
                                      .             339-5482
                                                               KUNTZ Marfl Henry 86 ED
                                                                31918111 SI East II Minneapolis 55404
                                                               KUNTZ Sheri AM AS ED
                                                                1508 Allen Ave 1206 W51 Paul 55118
                                                               KUNY Jim l89 ClL                      :
                                                                                                          871-6250
                                                                                                           .
                                                                                                          455-2093

                                                                                                          378-1037
                                                                                                                       KVALlEIN Juliane GRAD.,
                                                                                                                       ~:   ~~~~lrus~~~ ,..+. 37Hi87 ~=~~,:
                                                                                                                        PO Box 27813 Golden VaIWf 65427
                                                                                                                       KYAil Robin AM 89 ClA            ,
                                                                                                                                                               ",        ,.. 642.,,469     LA8E/lGE Paler A 87 ~lr ....,••••'"' :."

                                                                                                                                                                                             4347NeUniv 1~.~Hei9.55421
                                                                                                                                                                                           LABISSONIERE PI\\II />(¥.t t9\Cl.A
                                                                                                                                                                                                                                   :, 52&,8450

                                                                                                                                                                                                                                      788-2302

                                                                                                                                                                                                                                      188-2302
  800 5111 51 Se MpIa 55414                                     139910111 St Nw 1304 New Brighton 55112                 317 5111 Av Se Minneapolis 55414                                    4347 Ne University CoIInbia Hoig 56421
 KUlTUNEN Am Marie AS ClA.... ..                    ~9565      KUNZ Conrad Dwight 88 IT          ,        377.0:125    KVAIIIIE Peter AS CLA                    ,        :338-8518         LAID David Edward ~ ClA ;;                 331-8090
  1068 Norton 51 SI Paul 55117
 KWAT Janet KkMn 86 ED
  3501 louisiana N 1202 Mpis 55427
 KWAWA John Edwards 89 ClA
  1828 CIintoo Ave S 14 Mpis 55404
                                                   537-6872

                                                   870-8253
                                                                420 Mo!gan MpIs 55405
                                                               KUNZ James DaIyt 86 IT
                                                               KUNZ Stefan 88 CLA
                                                                1053 25111 Ave N Minneapolis 55414
                                                               KUNZE David Arnold 88 ClA
                                                                                                   ,
                                                                                                         429-36117

                                                                                                          84701)740
                                                                                                                        1400 2nd SI South Minneapolis 55464. •
                                                                                                                       KVANU Machell Mehrens GRAD
                                                                                                                        1588 Eustis SI BIdg·B207 St
                                                                                                                       KVASNICKA Jay Alan 89 CLA
                                                                                                                        Pioneer Hall Mpis 55455
                                                                                                                                                         pu~108
                                                                                                                                                                :.".,.,.. &46-6nO
                                                                                                                                                                                            326 61h AVII Se '202l1p(s~5414
                                                                                                                                                                                           LA800IIE Kathleen Am AS ID
                                                                                                                                                                                            Box 538 Norwood 55361\ .. " .
                                                                                                                                                                                           LAIIOR£ Kenneth l8!l88 CLA.o.c
                                                                                                                                                                                             3121 Illaho Ave S~ !-OOis-.Perk 55426
                                                                                                                                                                                                                                      :467-2488
                                                                                                                                                                                                                                      926-8001
                                                                                                                                                                                                                                                   l
 KWAWA Mil)' CI1ristine 88 ClA                     788-1506     1247 Sl AnlhonY Av.11119 St Paul 55104                 KVASNIK Alan Scott 89 GC..,                     ;.. 9=!3<7387       lAIIOSSIEIlE Anne~ 1l81T .•.,               429-6Jj84
                                                                                                                                                                                              3653 Highland Ave ~ 8eaf lk 55110
  7999 Quincy St Ne Spring lake P 55432
 KWAWSKI Anita louise 86 NURS
  7415 0aIdand A S Richfield 55423
 KUKlElKA John Anthony 87 CLA
                                                   ll6&-3947

                                                   781-9995
                                                               KUNZE Lori A 86 CLA
                                                               KUNZJ Stanton Gregg 87. LAW
                                                                550 113th Ave Nw Coon Rapids 55433
                                                               KIlO Duen GRAD
                                                                                                          755-1043

                                                                                                        , 331-695\
                                                                                                                        8301 W. 30 1/251 III St louis I'ark55426
                                                                                                                       KYASNIK Jonalhan Bruce 89 CLA ,
                                                                                                                        1584 Beechwood 51 Paul 55116
                                                                                                                                                                           69Q-2327

                                                                                                                       KYASNIK Nail Mark 88 CLA ..........~ ...,.......". 890-2327
                                                                                                                                                                                            LAIIOUNTY Aand8j( Kajlb 86 $IOSC
                                                                                                                                                                                              401 E 8urnlMIIe Pky I~ llumsviIIe 55337
                                                                                                                                                                                            LABRASH Andre ~ ~ ClA
                                                                                                                                                                                                                                       .
                                                                                                                                                                                                                                     894-88Oll

                                                                                                                                                                                                                                     484-6226
                                                                                                                                                                                                                                                   I
  3026 Siver lake Ad MpIs 55418                                 1015 Essex 51 Se ApI 1106 MinneIIpoIis 55414            1584 Beachwood St Paul 55116                                          2590 Cohen$ey St AIllIeviIIe 55113
 KUKLOK KieriIn Brien 89 DENT                      846-3804    KIlO ~ C 86 HE         ,                   770-2471     KYEEN Kelly Deone 89 GC                                             .loABflA$lf Brian Ait'IwJrty 88!OIl.'
  1049E 29th Ave Se Mpls 55414                                  3409 lake Elmo Ave N lake Elmo 55042                    109 3rd Ave Sw Roseau 56751                                           2590 Cohansey S1.R-.jlle $511j                       1
 KUKOWSKI TIIIlOlhy Jon 89 AG                      523-3798    KIlO Jason Te 88 CLA                    " 338-5235      KVEENE Kristi lee 87 AG                                              LAIIlE ~ Am 89. IT                ,      725-8497
  Rrl Box 110 Lewiston 55952                                    16154111 St S Iml003 MpIa 55454                         At 3 Box 93 Madison 56256                      ,                      1123 Green Acl8llI! N4!enaII WI 54956    .
 KUKUK Debra Am 86 BUS                             439-0446    KIlO lii GRAD        " "                   379-1975     KYENYOLD Stacey Lynn 89 ClA               , ,;...31~105              LABRECHE lisbe1h Marie 89 CLA
  126 Maryknoll Stillwater 55082                                815 13th AvSa #310 Minneapolis 55414                    325 AstunoI'e 1305 Minneapolis 55414                                  R.R.3 fiQx C63 BuIll!lo 5531~
 KUKUK Kerri Am 88 IT                              890-7888    KUPERSIIITM David Sau/89 VET M             631·1890     KYERN C<aig James 89 GC                                              LABRECHE Noelle ReMe. 89 CLA             633-4456
  12809 Por1Iand Ave So BuinsviHe 55337                          1635 W Skitman Ave 12 Roseville 55113                  181155111 Ave N Plymouth 55447,                                       1876 W C!l Rd e-2A01l\lVil1e 55113
 KULA EIIiolIlurt 89 CLA                  :         825-6396   KUPlIC Daniel Francis GRAD·                330-5428     KVISTIlERG lorraine Pal GRAD.                            .           lAIlAESH Kuri Vil:!or "CU.;." ,       ; 331-4253
  3520 Humboldt Ave S Minneapolis 55408
 KULAKOWSKI Donna Marie GRAD                        788-9580
                                                                2078 Dayton Ave 51 PllUI 55104
                                                               KUPSCH Knten Denise 88 CLA.                633-{J632
                                                                                                                       ~~K~k~ ~~.~iS.55414 37~'636                                            6126111 Ave Se ~ 55414
                                                                                                                                                                                            lABS Lori Jean 87 ftll.iAS,· ,
  623 2nd 51 Ne Mpls 55413                                      2545 N Hamline Ave RoaeviIIe 55113                     QAKO Joan 89 IT                                          373-6241    LAC:SyMe Treutuy 86~ ,
 KUlAS John Stanley GRAD                                       KURKOSKY Glenn Henry 89 IT "               822-2729      1425 Pioneer .HaII Mpls 55455                                       LACASSE Michael  a..-        GRAD
  51 John's UrMlrsily CoIegevilIe 56321                         3710 13th A'(8 S Mpis 55407                            KWAil Nancy Enen 86 CLA         ;            ,           47~2726       2333 E Ceder 81 HlQl 5liO:j8,
 KUlAS JOseph P_ 88 CLA                             427-4523   K~O::IS~ P~:~: ED                          738-2,151     6065 Cty Rd 11 Maple Plain 55359                                    LACASSE Raymond Edwaftj88 IT :           484-«i84
  12008 W River Ad Champlin 55316
 KUlBERG lance Wayne 87 AG                          376-7888   KUROKI David Wayne GRAD                    3~16
                                                                                                                       K~:     8: ~~ ~vaji;;~ ..' ·..,588-5583                                20925 Goodview Ave N'f~ lake .65025
                                                                                                                                                                                           ~~~~ tAD~·:554#·:··                        ·866-5488
  Rr 1 Box 71 Hector 55342                                      1927111 Ave Se 17 MinneepoIis 55414             '      KWAN Ching Keong 89 ClA " ;             ".. 379-8162
 KUlBlTSKJ Gary Crosby 88 CLA                      432-6337    KUROSS Sleven Arthur AS lIED'                            801 14111 Ave Se 14 Minneapolis 55414       .                      LACEY Julia Eilzabeth87CLA       ,..;      823-9670
  1412 E 131st St ~Ie 55337                                                                                                                                        288-2004
                                                                                                                                                                                           ~'=~~~~~
                                                                1634 Franidin Ave Se MpIa 55414                        KWAN Raymond Man 89 IT...            ;
 KUlEJIKAIIIl David Alan 88 CLA..........;........ 457·1448    KURTH Brian Cordell 89 GC                                970 Elton Hills Ct Nw Rocilester 55901                                                                        331-3331
  1448 Farmdale Rd St Paul 55118                                Ion Seminole W St Paul 55118                           KWAN Shem\an Hong 89 IT                                             32310111 Ave Sf MpIs 55414
 KUUlANEK MaW- CIrt 86 IT                           84!>8132   KURTH Candace lynn GRAD                    890-0263      970 Elton Hilts Ct Nw Rocllesler 55901                    LACEY Shirley Mary GRAD.:..,.,"            , 285-9929
  1994 N Wheeler 51 Paul 55113                                  86 W8fden 8llmsvifle 55337                             KW~ Yurnkaung GRAD ,                                        . 822 371h 51 Sw R~55802
 KUlICK Jerome Thomas 89 CLA                                                                                                                                                      LACH Robert Franc:is AS IT
                                                               K~~~~ :r:t54i.;J'                          331.7250     KWASIIAN Michael Alen AS MED                                                                                424-7607
  758 381h 81 N Anoka 55303                                                                                             291 Fort Rd 1150681 Paul 55102                               6725 81st PI N 8rooIdYIl Pari< 55445
 KUUSHECK Palricia Jo GRAD                         822-7607    KURTTI Daniel Robert AS MED                             KWO Slephanie Frances 89 ClA                   '..         LACH'Theavy 88 IT                    :           872·n04
  5324 Park Av South M"'-PoIis 55417                            7825 E River Rd #320 Fri(Iey 55432                     KWOK Vue 89 CLA                             823-3089          2535 CIintoo Ave S 1213 MpIa 55404
 KUlKARNI Srinivas Ramr GRAD                                   KURll Bruce Robert 89 lIED         :     644·5445        425 13th Ave #1301 Mpis 5 5 4 1 5 ,                       LACHANCE Sco11'Michae188t1..                     633-9599
  61515111 Ave Se 1203 MpIs 55455                               1102 West Co Rd 01219 New Brighton 55112               KWOLEKFOLLAND Angel GRAD                    539-8109          9714111 Ave Sw New8lighlon 55112
 KUUER Be1h Marcia 89 IT                             .         KURll Daniel Joseph GRAD                 83Q-8543        1904 Grandview Dr Manhattan KS 86502                      LACHEll Ronald Vemon86 FOR                       846-4829
 KU~~~~I~                                        ~1_3461        42:16 Upton Ave So 1101 Minneapolis 55410
                                                               KURTZ Erin Leigh GRAD                    374-9215
                                                                                                                       KWON Ei GRAD           :            : , 840-4849
                                                                                                                        1170 Fifield Ave Nil 51 Paul 55108. ,
                                                                                                                                                                                      185'Exeter PI 51 Paul 55104,
                                                                                                                                                                                  LACHEllllAYER JaIl8 Elan 87 Blose
                                                                                                                                                                                  J'                                               898-2995
  8809 HiIIlide Ln Edina 55435                                  1702 N Thomas PI MinneapolIS 55411                     KWON Kyonghae GRAD                          331-8968 •         423S Warwick SI Paul 55105         .
 KULUIAN Sco11 William 89 IT                      475-3813     KURTZ Kelly EJise'87 IT            ~     724-8509        801 Univer8ity Ave 114 Minneapolis 55414                   LACHENIIAYeR JcIln Ridla 88 IT...               452-1243
  2905 Troy In Plymouth 55447
                                                                                                                       ~~~G::.·i'_··~5426 ~571
                                                                2917 32nd Ave S Minneapclis 55408                                                                                     1253 Culligan In Mendota HIs 55118
 KUlIlA/l Jonee Michelle 86 IT                   373-7200                                                                                                                                      AM
  210 Delaware St Se Mpis 55455                                K~=~7#'t~.5541                           373-6103                                                 ..·..            LACHER           Marie 87 HE
                                                                                                                                                                                      931 24111 81 Nw Aocheslor.55801
 KUUlAN Michael John 89 CLA                                    KURTZ Steven Gustav 86 ClA                  644-5445    KYLE lisa R8l188 86 CLA                ,         871-8453  LACHER James PatriCk 88 CLA ·                    890-1838
  Frontier Hall Minneapolis 55455                                1805 FairView Ave St Paul 55113                        2507 Garlield 12 Minneapolis 55408                           11107 Territorial Ct Bumsvifle 55337
 KULSRUO David Scott 86 ED                       484·5009      #URZIlAL Brian lane 86 BUS                   332-9062   KYLLANDER Alison Jean 88 CLA                                LACHER Steven JerOIIl8 88GC                     489-8178
  1057 Island lk Ave St Paul 55112                               1615 So 4111 St Im1610 \oIInneapoIis 55454             2537 E 4th Ave N St Paul 55109                                1132 W Skillman Ave Roseville 55113
 KULSRUO Michael Joseph 87 CLA ..:                780-4895     KURZHAL Susan Margatet 89 ClA               332-9062    KYLLO Carole Millett J GRAD                 ,.. 938-6184   LACHNER William K;k AS BJOSC                     827-3251
  9609 Pierl:e St Ne Blaine 55434                                1615 S 4111 51 Im·1610 St Paul 55119                   5201 Schaefer Rd Edina 55436                                  P.O. Box 14033 MihneapoIis 55414
 KUll Heidi Eissa 87 CLA                          n6-8624      KUSHf lawrence Haruo 86 PH           ;      374·2919,   KYLLO David Stanley 88 CLA                                  LACHOWITZER John Alber 89ClA
  1035 CorMay St Paul 55106                                      2626 Emerson Ave 5 Minneapolis 55408                   18010 Cty Rd 18 Plymouth 55447                                307 Hazelwood 81 Paul 55106
 KUlVER lain 87 CLA                               379-2008
                                                               KUSHINO Terri Lynn 87 NURS                  544-7607    KYLLO HermanSevenn J AS IT                      724-1491   LACK Rosalie AM 87 ClA                           623-8192
  1231 8111 51 Se Mills 55414                                    20 Rhode Island Ave So ~oIden Valley 55426
 KULZER KatIvyn Barbara 86 CLA
                                                                                                                        2805 26th Av S MpIa 55406                                     1010 Se EssexSt 1300 MpIs 55411
                                                               KUST John Edward Jr 89 CLA                  471·9255    KYLLO JaMi!er Hunder 89 lIED                     ~         LACKEY Dennis CarroIt AS ED                      936-9434
 KULZER ~esa Marie 89 CLA                         373-7180
  220 W 10111 51 Hastings 55033                                  3355 CryslaI Bay Rd Wayzata 55391                      2822 34th St East MinneajJoIis 55406                          725 7111 Ave .S Hqlkins 55343
 KUMAR Ashwn GRAD                                 373·1326     KUSTM Friedrich Josef GRAD                  824-6371    KYLLO Steve Richard 89 GC                        724-9426   LACKEY JoeI·Thomas 86 ClA                       224-2599
  1380 Ecldes Ave 51 Paul 55108                                  3454 Elliot Ave So Mpls 55407                          2215 E 38111 SI MpIa 55407                                    140 E George 12OaSI1'8llI 55107            ,
 KUIlAII Vijaya GRAD                             291-6339      KUSTRITZ AM Elizabe1l1 87 CLA                227-7708   KYLLONEN Jane Marlha 88 CLA                      373-6118 'LACKNER Joseph Michael 86 IT                     338-5412
. 1263 Hazlllwood 51 1306 SI Paul 55106                          535 Gland Hil St Paul 55102                            982 Co Rd 24 Wayzata 55391                                    1615 S 4t1t& 1m3009 MpIs 55454
 KUllERFlELD Teresa lynn 89 HE                                 KUSTRITZ Jacques Micha 88 BIOSC              463-7715   KYSYlYCZVN Sco11 Alan 89 ClA             , 489-0195         LACKNER Mary MwgareI89GC
  17525 261h Ave No Plymouth 55447                               Box 152 5595 H6th St W Farmington 55024                1221 N Kent St 51 Paul 55117                                  5120 iN 102nd St ~55437
 KIMM linda Marie 86 HE                           823·2534     KUSTRITZ Jan Thqrnas 86 CLA                  455-7313   KYTE Charles Edward GRAD                         453-8431   LACOIIIE Constancllilen 88 ED                   699-1104
  3030 0aIdand Ave S Mpis 55407                                  641 8th Ave N So SI Paul 55075                         P.O. Box 87 Eden Valley 55329                                 1308 Gooc*ich Ave StPaul55105
 KUIlllER GregoIy Atexand 89 GC                  331·7232      KUSZ Nicholas Paul 89 IT                                                                                           LACOIIIE Mitchell Josep 87 CLA                   721·2657
                                                                 9108 5111 Ave S Blooming1on 55420                                                                                    5028 44111 Ave S MpIa 55417
  701 UniverPY Ave Se')3 Mpis 55414
 Ku.lER John William 86 BUS
  12200 PI Doug Dr S Hastings 55033
                                                  437-9125     KUTCHER Lynne 0 86 CLA
                                                                 2830 E 34th SI Minneapolis 55406
                                                                                                            722-6961                                L                              LACOSSE Robert David 89 DENT
                                                                                                                                                                                      227 C 8111 Ave Se Mple55414
                                                                                                                                                                                                                                   378-2092

 KUllllER Mary Carol 87 NURS                      379-0006     KUTL£R Susan Anne 89 CLA                                LA Dung Van 87 IT               .'               471-0447   LACOURSE Renee lynette 89 CLA                   842-9163
  42513th Ave Se 11101 MpIs 55414                                6417 Mas1head Dr Madison WI 53705                      1601 4th 5t S 11315 Minneapolis 55454                         1599 Hague Ave 51 Paul. 56104
 KUllllEROW CIlristian De GAAD                    255-5107     KUTZ linda AM GRAD                           944-0793   LA Luong Vim 86 IT                        , ~1-0B55         LACY Peter Geron 86 CLA                         724-6110
                                                                 8710 Bentwood Dr Eden Prairie 55344                    15154th 5t So E103 MiooeapoIis 55454                          4309 42nd 51 So MinneepoIis 55406
 K~~S~~~~()!j                                     738-1265     KUTZ Sharon Ann 86 ED                        824-0432   LA Phong Thu 86 IT                   ,       ~. 638-8319    LADAS Peter NiCholas 86 IT
  2466 C CobbIehiII AJcove Woodbury 55125                        1475 N Cleveland Ave SI Paul 55108                     2812 N Asbury Roseville 55113                         •    lADE Jenrifer Jane 89 CLA :                     376-6684
 KUIIIIETH KNen Debra 86 ED
  2466-<: CobbIehiII Alcove Woodbury 55125
                                             738-1265           KUUTTIGARTY Victona GRAD
                                                                 6408 Willow In BroodIyn lane 55430
                                                                                                            586-6631
                                                                                                                       ~~n:.",:,s:7,~05·~·55414 378-9334 ( LADEN        ..·;·        212 22n<j Av S 11131 MpIs 55455
                                                                                                                                                                                             Perry.Oeen 89 CLA                     633-4565
 KUNOE Eugerle Richard GRAD               ,. 473-6958          KUWAHARA'Melvin Den 86 MED                   379·1870   LA8AIlGE li¥ Rae 88 ClA                          788-7736      4564 Prior Ct Arden Hils 55112
                                                                 727 13111 Ave Se 16 MpIs 55414                         2320 Quincy SI Ne MpIa 55418         '.                    LADLEY linda Colina 87 BUS
 K~~ :art~~~'                                     331_7486     KUWAilURA HitoslIi GRAD                      644-9549   LABARGE 51ephen John 8111..          , ,         331-6007    '1359 Hewitt Ave,StP8ul55104
  709 15111 Ave Se Mpls 55414                                    1234 Gibbs Ave SI Paul 55108                           521 Erie St Se MinnMpoIis 55414                            LAll()UCEUR Gregory Paul 88 CLA
 KUNDERT John Pater GRAD                                        K~~~187 LAW                      ·          8~2188     LABATE Jan Mary 86 HE                         ;. 447~787       8433 11111 Ave South BiooITirIaton 55420
                                                                                         55ii7S                         3621 180111 51 E Prior lake 55372
                                                               K~::;~~~.5537s
  2725 Garfield Ave South Mpls 55408                                                                                                                                               LADOUCEUR MichaelSlev 86 "ED
 KUNDSCHIER Frederick 0 88 CLA                    488-3079                                                890-2168     LABATT Amy Jo 89 ClA                                        LADOUX Shelley Key 88 ED
  756 W Milnehaha SI Paul 55104                                                                                          12901 Eagle Ridge Dr 8llm_ 55337                             6603 Falstaff Ad Woocbrt. 55125
 KUNG Will Pang 86 BUS                            379-2009     KUZARA John Thomas 87 CLA         :        471·7395     LABATT Joan Roztyn 88 CLA             ,., ,. 894-5559       LADWIG Edward John 86 IT
  1503 8111 51 Se 1102 Mpis 55414
 KUlfIAJI Arnold Michael GRAD                     378-2889
                                                                4702 West Arm Rd Spring Par1< 55384
                                                               KUZJ Am E S GRAD                           631-0991     J:lirE;t ~~~.s.~~ 934-2897
                                                                                                                        715 10111 Ave Mpis 55414
                                                                                                                                                                                   LADWIG John Michael 88AG.... ..
                                                                                                                                                                                      989 ManhIIt Ave. MpIs 55104
                                                                                                                                                                                   LAEIlERACIl Ar"f BellI 88 ClA           :
                                                                                                                                                                                                                                   845-8292
                                                                                                                                                                                                                                   927-8520
                                                                1846 Todd Dr Arden tills 55112
 K~~~~~~ ~~.~~1.4451.,082                                      KUZJAK Michael Alan 88 IT                  387-1407     LAllEAU Michelle Marie ~ DENT                    888-3733      4633 Bruce Ave SEdna55424
  967 Felix 51 W81 Paul 65118                                   401A W 14111 SI Marshlleld WI5444!l                      10300 Nicollet A 8IoQrnington 55420                       LAEDERACH Wem, JInl87 BUS                    :.927-8520
 KUNfI( Robert J 86 IT
  1630 61h St S Id 417 Minneapo/is 55454
                                                  341·3985     K~K= ~~~/:~iiiii"                  ·..· ·   644-2558
                                                                                                                       LAllEAUX Suzanne Marie 88 ClA
                                                                                                                         1624 Gardena.Ave Fri(Iey 55432
                                                                                                                                                                 , 571-&176           4633 Bruce A S Edina 55424
                                                                                                                                                                                   lAEDTKE Robert Todd iii' BUS                    376-8456
 KUNKEL Elizabeth AM 87 FOR ..,                   632-4050     KUZIIIC DeanneBe1l1 89 CLA                  559-4506    LABECK Louis Joseph 86 CLA                       545-0486 . 1501 M-.xJk Hall UlM Minneapolis 55455
  853 Weeks Ave Se Mpls 55414                                   ~217 Oakview In Plymouth 55441                           10725 . 39th Ave N PlyInouth 55441                        LAfANS Richard Sce\I GfIAD                      375-1846
 KUNKEL lawrence Thomas 87 BUS                                 KUZNIA Chartes Benedic 87 IT...             339·1803    LABELU laura lee 86 ED :                         825-6382      2019 21st Ave'So Inl4.lIpIs 55404
  12615 Aesden Rd 1'tymoutII55441                               1400 Second SI S 1c412 Minneapolis 55455                3503 W 29th St MinneIlpoIis'55416                          WAVE R_lrene89 CLA.                              339-1629
 KUNKEL Marilyn Jean 86 ED.........               822·3081     KUZNIA Ivan Eugene 88 11..                  854-7943    LABELU lailani lynn 86 DENT                      3n-6060       1901 _            Av 1315 Minneapolis 55454
  3840 a - Ave S Mpls 55409                                     9106 Columbus Ave S Bloomington 55420                   8 Ardmore Dr Golden Valley 55422                           WAYETTE Beth Am 88 ClA                           825-0670
 KIlNS Michelle Marie 89 ClA                                   KUZNIA Jonalllan Narber 87 IT               854-7943    LABELlE Sleven Russell 88 CLA                    623-0327      4838 Grand Ave S MinneepoIis 55409
  ~ Hall U/M Mpis 55454                                         9106 Columbus Ave BloorrW1gton 55420                     103226111 Ave sa MpIs 55414                               WOND Colette GRAD
 KUNTSCHER Kurt Michael 89 IT                     373-6633     KYMl Kenl E 88 IT                           777·5302    LABERGE Annetle Marie 87 DENHY                   339-4973   WOND Dale A 87 GC:                               845-8300
  112 Redwood Dr Apple Valley 55124                             2774 No HiHtop Ct N SI Paul 55109                        1920 5 1sl St 1302 MpIa 55455                                1593 laurel Ave St Paul 55104
 KUNTZ Debie Jean 89 CLA                          333-3989     KYAALSETH Jan 87 GC.................... ... 338·3253    LABERGE Patrice Marion 89 MED                    339-4973   LAFOND Nicholas Paul AS MED ...            ..... 484-8499
  2038 1st S MpIs 55454                                         Nebe 910 Elliol Ave S MpIs 55404                         1920 So 1st SI 1302 Minneapolis 55454                        1575 Hunter Dr ~ayzata 55391


 STUDENT I KUHNZ - LAFOND
                   Case 3:23-cv-22130-MCR-ZCB                                                        Document 155-19                                     Filed 03/14/25                            Page 5 of 9

                                                                                                                                                                                                                                              307
 LAFONTAINE Knn MIIie 87 BUS                  "'147        : LAlCOUR Randy EdwIrd 89 CIA                                 lAMBRECHT Q1i;Slopher 69 CLA                  690-3475        lANDRY Usa Yvonne GRAD                        529-0899
                                                                          ~8~,.~~.~
  131 SIb'Ave S S StPaul5507S
 LAFONTAINE Kattwyn MIl 89 CIA
  131 SIb Ave S So 51 Paul 55075
                                                            J:nMIIJ:
                                                             232i So 9lIl       55406
                                                                           $1121<18 MpIa
                                                                                                             339-4467
                                                                                                                           12413 Skyline Dr BumsviHe 55337
                                                                                                                         LAIlBRECHT Kris John GRAD
                                                                                                                           7305 SIewert Dr Eden Prairie 55344
                                                                                                                                                                       541·0901
                                                                                                                                                                                         1400 Washburn Ave H Minneapolis 55411
                                                                                                                                                                                       LANDSllAN Julie Guyton GRAD
                                                                                                                                                                                         2601 43rd Ave So Minneapolis 55406
                                                                                                                                                                                                                                     729·1411

 LAFOIlTAINE SuIIn·"'*it 119 CIA                            LAICI Juan Henry l\61T                           331-2133·   lAllBRECHT Susan Mllie 86 EO                  890-3475        lANDSlIAN Rhona Helene 87 CLA ..... ........ 546-5234
  5438 GI8nd Mp1155419                                         11C1O 4111 St Se MInnoIpoIia 55414                          12413 Skyline Dr B~ 55337 •                                   5940 St Ooix Ave Golden Valley 55422
 LAfIWICE MIIie EIzD ee MEl)                                 LAu.JlTE 0eniIe lMIe 89 CIA                                 LAIlBRECHT William AJlje 67 iT                771-1631        lANDUCCIAnn Marie 86 CIA

                                                            LA~~=.,e: ~ ~I.~.O' . . .                                                                                                  ~~0Si~~~7 IT ....
    3919 CclID Ave N .65412                                                                                                1979 E Orange SI Paul 55119                                                                        ...... 646-4867
 I.AF1IIE.-R Louia Pee·ED                       425-8838                                         ..        6«_2558       LAIlBRIDES Joan Marie 87 NURS.... ........... 484-8862
    Illl85 89lII Av N MIple Grave 55389                        1321 K8Illlll 5l $I Paul 550102                             1106 1/2 Bahrami Ave Bemidji 56601                           lANDwtHR Paul David 89 CtA......           .. 291-0&30
 LAflIlIIIERE JuIit flit 88 CIA                 588-0nl      LALL RIIv RasItihIri GRAD                                   lAMERE Gerald William 69 CLA                                      1121 POI1Iand Ave St Paul 55104
   8221 RivIMew Ln 170 lIroaWvnM S5444                        COlI 01 PllInn HIth Sc F MpIa 55414                          1375 Pierce Ter Columbia Hts 55421                           lANE Ann Williams 86 PH                 ..    624·9012
 UGAARD SooIt WhiInIJ AS lIED                                LAUA R-r Jean 89·HE                           482-0612      LAMERE Gregoty Michael AS IT                                      5348 15th Ave So Mpls 55417
    1341 RUIIIII A>!e No. • 55414                             5887 ~ PI SIloreviIw 55128                                   18306 Fernando W9!I Rosemount 55066                         'lANE Oaig Cart 89 AG
 LAlWlIlE Philip MIrtin IJ3 CIA                              LAIJJIIll'lllr Wesley T 89 CIA                872-0152      lAllERE Jeanne Deborah 87 etA                 766·2837            Star Roule Box 23 9<ainerd 5540t
   8110 ~ 51 lUdh 55811                                       1821 13l1l Ave S MpIa 55404                                  4022 2nd St N.E. Minneapolis 55421                           lANE Glenn Hunter AS EO
 LAGATA Joeephine RollI GRAD                    3784815      LALLY IIriIn P 86 IT                          331-6519      lAllERE Jeanpaul AIt8n 69 CtA                                  lANE John F GRAD                              475-4057
   1971 ComrnclnwIIIhh Ave 348 51 Paul 55108                  507 4111 S1. Se Mp1155414                                    t235 H 0akvieW Ln P1ymoulIl5&«1                                 360 Cantlal Ave So Wayzata 55391
 LAGER Ben OdelIee ED                      :    533-1083     LALLY RcbIn MIly 87 CIA                       331-6519      lAllERE Kenneth James 89 ClA :                537-8567         lANE Joo Allan 87 MORSC
   3216 N 48lII RobIlInIdIII 55422                            5074111 St Se Apt 12 Mp1155414                     ..'       4839 Zane Ave N Crystal 55422                                 lANE Karen Ann 69 GC                         722·7796
 UGEMlEIER llInieI John eelT                    831-2332     LALOIIIA T _ AM 87 DENT                       374·58«       LAIlIRANOE Denise Rae AS EO                   6«-7798             3000 W River Rd Pkwy Mpls 5540-4
   522S W. 108lIl St IlIiloIllillllO S5437                    1780 HennlIpin Ave 134 Mp1155403                             1425 WJessamine Apt 1312 St Paul 55106                        lANE Kimberly AM AS MED                      224-6611
 LAClIllWAAIID AIie AS IT                       212_7 · LALOIlIll! TitnolIIy Gl1ber ee BUS                 ~45           LAIlll Melissa Jeane 87 CIA                   379-2993            4819 Girard Ave Minneapolis 55409
   2120 V~ Dr Cl0l Roc:I*W S6I01                              8008 Fremont Ave So MpIa 55419                               1115 6th St Ne Mpls 55413                                     LANE Michael A GRAD                          789-3412
 LAGlIlG K . WiIIIms 87 CIA                                  UII Boon Yue 89 GC                                          LAIlllERS Mark John GRAD                      690-3620            3036 Arthur St Ne Minneapotis 55418
 LAGNAOUI AbdIlaDz IJ3 NO                       844-4480                                                                                                                                 LANE Nancy EIt8n 66 CtA •
   2215 Como AVI W 51 Paul 55108
                                                              8137 CreeIMMr TnII M\tIa 55345
                                                          · ~w=8~~.._                                      823.7017      ~ ~~~I= ~~~ ~8:'J1.5.51.0.5                        928-5599       100 WDiamond Lk Rd 1215 Mpls 55419
 LAQOIlIN8IO PdicII An at IE                                                                                               3560 Minikahda Court 1 14 St LouiS Park 55416                lANE Patricia Lynn 89 CLA                     937-2199
                                                             LAM au NIl 89 HE

                                                                  ==
   ComIlock Hal U/M MpII 554515                                                         ,                  854-7782      LAIllllNEN James Allan 86 GC                       925-0220       8325 Mitchell Rd Eden Prairie 55455
 LAGOIIlO QIig CIr1IIee CIA ..:_                829-0lI07     8633 10lIl Ave S IlIooming1on 55420                          2913 Geotgia Ave S St Louis Park 55428                       lANE Rebecca Jo 87 HE                ..       722-3417
   8800 PMinIe ReI EdnI 55435                                                                                            LAIlOII Elizabeth Prior 66 CLA                                    3035 46th Ave So Mpls 55406
                                                                               ~
                                                                                                                                                                            545-0317
 LAGROW George ElVin GRAll
   205 Hollywood New UIm 58073
                                                            t:115 14111 Avt Sw New IlrighIon 55112
                                                                                                           831-2972
                                                                                                              .
                                                                                                                           1701 Hampshire Ln Mpls 55427
                                                                                                                         LAlION Leah Mary GRAD............................ .330-8286
                                                                                                                                                                                        LANE Thomas Cassel GRAD
                                                                                                                                                                                           1090 1511l Ave Se Mpls 55414
                                                                                                                                                                                                                                      331-4558

 LAGUNOFF~DelnGRAD                                          LAM He Thenh 87 CIA                            375-9728        4106 Tolado Ave S St Louis Park 55416                        lANE Virginia l<athryn GF,lAD                 825-7733
   9122111 Ave So 1217 MinnIIpaliI554Oo\                      1815 411l St So lmaol Mp1155454                            LAlIONS Roberta Carol GRAD                         6«-2345        4652 Colfax Av S Minneapolis 55409
 LAHAISE Il/yIn GeIIId 89 GC :                  48N344       LAM HiIll T 89 CIA                            371-0382        2119 0udIay Ave St Paul 55106                    •           lANEY David Lee GRAD                          623·9721
   9838 208lII St WlIkevIe 55044                              1800 S 8lII 51 M$18 MpIs S5454                             LAIIOORE Louis ChaI1es 86 etA                      884-8779       575 Sierra Dr.• 16 Freeport IL 61032
                                                                                                                                                                                        LANG Anita L AS EO
 LAIIA8ER DougIIS EugIll ee CIA                 95-0183
                                                             ~1~'7·il_;U;; ..56420....·823-7017                            4106 Overtook Dr Bloominglon 55437
   2943 Vernon Ave S S1 Louia M 85418
 LAllAYE Michll8I A-.n 87 IT                    378-0230     LAM HlrIg TIIIIlh 87 CIA
                                                                                                                         LAIlOTME Gr9QO!Y Sleven 86 CtA
                                                                                                                           1103 511l St Se Mpls. 55414
                                                                                                                                                                            376·1719
                                                                                                                                                                                       ..:: ~~~~J.'.~~~. ...... 698-1241
                                                           • ~O~~~:i.~.554ii8 ...... 823-7017
   1515 Brook AVI Se Mp1155414                                                                                           lAlIlOTT Laurie Lynn 69 CIA                   .. 866-4633      2066 Randolph St Paul 55105
 LAHER J.- PaII!o 88 lAW                        521·17119                                                                  7736 Vincent Ave S Richfield 55423                          LANG Berdetta Jean 87 CIA                         929·9369
   1106 WlIIhblrn Ave No MinnIIpaliI55411            ..      LAM KIIi Peng 89 CIA                                        LAMP Leslie Alice 86 BUS                           447-5954     2729 Edgew09d Ave S St Louis Park 55428
 LAHL " - RiCIIIld 88 CIA                    :. 331·7580      4008lIIAveSe 113 Mp1155414                                   18736 Fairlawn A Prior Lake 55372                           LANG Brian Joseph GRAD                            373-0889
   929 511l 51 Se MinneIPoIII55414
 LAIlM Eric GordOn 89 CLA
                                                             LAM l.IIn Thu GRAIL
                                                              543710lIl Alii 5 Mp1155417
                                                                                                    ,      823-3803      lAMPE Johanna Wyss GRAD
                                                                                                                           1231 Raymond Ave St Paul 55106
                                                                                                                                                                            646-3466
                                                                                                                                                                                       ~     =:': :~'!L~~I.~e.
                                                                                                                                                                                          2827 Thomas Ave Mpls 55411
                                                                                                                                                                                                                                           586-5967
. 4513 0Ik Dr EdinI 55424
 LAIlM Steven tori< ee IT                       7119-1257    ~1~4Ih~~:': ss:454!                           340-0666      LAIlPE John Kar187 LAW
                                                                                                                           136 OrIin Ave Se Mpls 55414
                                                                                                                                                                            378-1290
                                                                                                                                                                                       LANG Daniel Edward 88 CtA                 ..        736-6615
                                                             LAM PIli ThInh 89 GC                        : 6«-6186                                                                        6061 Upper Afton Rd Woodbury 55125
J::       :.;2:8,..~~~
                                                                                                                         LAMPEN Joseph Edwald GRAD                          377·3151
                                                833-2132      1247 51 ~ Ave 1191851 Paul 55104                             4521 Cedar Lake Rd St Louis Park 55416                      lANG Daniel James 89 AG
   1454 a-.d Ct AldIn             55112                      UII Si ThrM 89 GC                                           LAMPERT lric EUiot 86 CIA                          929-2962    . Rrl Glenville 56036
 LAHR KMl pee DENT                             881-7322                                                                    2570 Xenwood S 51 Louis Park 55416                          LANG David John 88 etA.............           ..... 484-4748
   21147 GrInd Ave 12 N 51 Paul 55105                        ~4~StV~~~ ..~~~.I~ ..~.~.~.I~ .. 227.2449                   LAMPPA LOtena Marie 89 ClA                         934-6876      303 Bankers Dr St Paul 55092
                                                                                                                                                                                       lANG Deborah Ann 89 CtA              .              235-2025
 LAHREII JuIit /!at 88 IT                                     854 HcIIy Ave St Paul 55104                                  1010 1511l Ave Se 1203 Mpls 55414
                                                                                                                                                                                          1575 Sand Pit Rd Oshkosh WI 549M
   303 3Id Ave Nw MIndIn NO 58554                            UII Thly N 89 CIA                             331·7503      lAlIPRECHT Kristin Eliz 66 CIA                     484-7451
 LAHTI CItcI JeIn ee BlOSC                      227-3«5       517 151h Ave Se,Rm 18 MinnelIpoIis 55414                     431 Minnesota Ave 51 Paul 55113                              LANG Eva Marie 88 CtA

 J:.W   =:.:::               ~~.~~~
   4735 Emerson H MinneIpalia 55430
                                                             UII Thly ThrM eelT
                                                ~'7343 1815 So. 411l S1. lmaol MinnelIpoIis S5454
                                                             ~~'m        'c= :;b-·..·..·..
                                                                                                           375-9728

                                                                                               ss:4·i4'..· 331-8341
                                                                                                                         LAIlUSGA Kalllleen Marie 89 GC
                                                                                                                           4870 Zachary Ln P1ymoulIl 5&«2
                                                                                                                         LANAGHAN Kevin Mark 86 CLA                         379-8701
                                                                                                                                                                                          5000 Madison St Ne Columbia HIs 55421
                                                                                                                                                                                        LANG Gr~Robert 87 BIOSC
                                                                                                                                                                                          2460 E         Ave No St Paul 55t09
                                                                                                                                                                                        LANG John mmet 86 CtA
                                                                                                                                                                                                                                           770-30t3
                                                                                                                                                                                                                                           67'.91~5
 LAHTI LindI M89 HE                                                                                                        528 14th Ave Se Mpls 55414
   fi984 511l 51 He F _ 55432                             · LAIWIRE MIrIhI Elile GRA~                      376-60\21     lANASA Mara E-. 86 CtA
                                                                                                                                                                                          210 28Ih St So Mpls 55406
 LAHTI Lynda Kaye 87   eo                                     412 22nd Av S 401U/M MpIs 55455                              3153 Shoreline Ln SI Paul 55112
                                                                                                                                                                                       LANG Kristina Lynne 88 CtA.,
                                                                                                                                                                                          2480 Shryet Ave Horth 51 Paul 55109
                                                                                                                                                                                                                                           770-3013
 LAHTI Richard J _ 87 IT                        373-8351 LAIIAIIlEY BoniII EIen ee IT                      623-0286      LANCELLO Rich Jr ee VET M                 ..       6«-4554    I,ANG Lanse ChaI1es 87 MEO............. .......... 724-7789
   R 1 Ilolc 137 MeedowlIndI 551115                           514 8lll 51 Apt 7 MinnIlIlioliI55414                         300 Woodland Dr Burnsville 55337 .                             825 ParIIidge St 1110 0uIu1l1 55811
 LAlIlotco HakIhi ee CIA                        3734882      LAltATICtI CIviIlOpher B 87 CIA               825-3691      LANCMAN Mitchell Alan 67 CLA                       696-5391   LANG Martha Jane 86 EO                              545-6656
 JIW:..::~~~.~.~                              3-,g.1020.    J:N=~~.~.:                                       241.5865    Jl~~ ~5~~6etA                                   866-1288         6006 W 1611l St SI Louis Park 5~26
                                                                                                                                                                                       LANG Michael David 86 CtA                           376-2416
  P.O.1lolc 13116 MpIs 55414                                  11 ~ ~ Ln MadiIon WI 53704                                   6410 Irving Ave So Richfield 55423                             1908 Como Ave S Mpls 55414
 LA! Shuldun ee IT                            331·5485      LAMB David LIOllIId 89 CLA                                   lANDA Krislen Kay 69 GC                         331-7896      LANG Monica L 89 GC
                                                             AR 1 Ilolc 33 HorIce NO 58047
                                                                                                                         ~:~:. ~i ~~~.4
  1206 4111 51 Se 1304 MpIs 55414                                                                                                                                                         1152 University Mpls 55331
 'fe~~~Miiiiieiii·Oiiii·55454·                338-5235      ~:=.~89GC 55343                             .
                                                                                                                                                           ::
                                                                                                                           809 1111l Ave So Iofnneapolis 55414
                                                                                                                                                                         376-1302      LANG Sarah Ffolliotl AS EO                          822-2249

~r:: ~s~i :..··                                             ~ ~~~ Paul 55106
                                                                                                                                                                                          2883 Holmes Ave S 112 Minneapolis 55408
                                                                                                                         LANDAUER Kevin GRAD                             698-4191
                                   55414     ·379-1333                                                                     177651 Clair Avel401 St Paul 55105
                                                                                                                                                                                       lANG Teresa L 86 HE
                                                                                                                                                                                          421 Cedar Ave 123 Minneapolis 55454
                                                                                                                                                                                                                                           34 t-2065
LAIClNEUAVASTIIlE ::.,TCIA                    872·7838      LAMB=: " - 89 CLA                               373-7033     lANDBERG Michael Anlllo 89 etA                  825-6942      lANG Thomas Anton AS MED ........                .. 935-9606
  116 0Ik ~ MinnIIpaliI55403                                  1458 FllllIliIf HIll, U/M MirnIIIlOIi& 55455                 3406 ~ Ave 14 MpIs 55405                                       2224 Fremont Ave So Mpls 55405
 ~1~"'r.~·~                                  ·435-7034· ~==~·~·554~9
                                                                                                                         lANOE Lynne Janelle 86 CIA                       484-1319     LANGAN LOten Weeks GRAD...                   ..... 690-0861
                                                                                                                           431 Rose PI St Paul 55113                                      45 S Albert St St Paul 55105
.~      I:'A~=:~                            ;.. 37e.ota7    ~::e=~·55126 ·..· ·483-6279                                  LANDER Jeffrey Keith 89 CIA                      941-231,6.   LANGAN Terry G GRAD                              .. 690-0881
 LAIIIG " - Mill GRAll               473-32tli              LAMB Thomu John 89 etA                 _.. 43-1212           ~~~ :.r~~~~                                      861.5999
                                                                                                                                                                                          45 Albert SI So 15 SI Paul 55105
                                                                                                                                                                                       LANGANKI Danney Joseph 86 BIOSC                     489-0019
  3650  Nor1home,.,.            y
                         w.,... 55812'                       57 E PIlNiIMl Lk ReI North Oaks 55110                          6414 Logan Ave So FIichfield 55423·                           1831 Onacrest Cv Map1ewood 55117
 LAlllGJulIe JeaicI 88 GC                                   LA.m1' ChriI1N Mali 87 GC                  788-3910          LANDERS JHI Annette 86 ED               \    529-0567         LANGBEHN David John 69 CtA
  134 W451h 51 MpIs 55408                                    2816'" Ln He 1205 51 Anthony 55421              '              1602 Bryant Ave N Minneapolis 55411                           5205 So Timber Schofie1d WI &«76
 LAIIIG KaIlYyn'JoIn 87 CIA          874-1888·              ~ David Alan 87 CLA                              379-1031    LANDGREBE Mary Elaine GRAD                   731-4041         lANGDON Rochelle Denis 87 NURS                      461·2407
. 129 W. IS1b St 12 MpIs 55403                                lOll 4111 51 Se MInneIpoIis 55414                             2484B CobbIehiII Alcove Woodbury 55125                        8671 E 234'" SI Lakeville 55044
 LAIIlG TIlIlOlIIy Alan ee ClA.      3n·7182                w-ur JaeeplI Edmond 89 CIA                                   LANIlHEIlR Patrick Geral 88 PHARM            331-4594         LANGE ~S 66 HURs...                                 823·7484
  1535 NetchIz S GoldIn V., 55416                            3317 AQuia.Ln SI lolli PII1l55428                              1024 411l SI S E Mpls 55414                                   4717 Wentworlh Ave So Minneapolis 55409
 LAlIIG WiIiIm EdwIrd IJ3 IT                                ..-..t JaeeplI EdwIrd 87 IT                      623-4827    I..ANDIN Donald Tornothy GRAD                722·9093         LANGE BNCjI Sheldon 69 IT
  1427 27 51 W MpIa S5408                                     223a18Ih AVI Se MpIs 55414                                    3805 E 28th St Minneapolis 55406                              1458 FremOnt Ave SI Paul 55106
 LAINlllIURY AIvIIfM David 89 CIA    941-4553               ~ Kart RidIIId 88 lAW                                        LANDIN Jay Michael 89 GC                                      lANGE Danny B..u>n AS MED                           483-2879
  6500 Joeephine Ave Edinl55435                               2870 Halrt* Ave S 1203 MpIs 55408                             6109 Olinger Boulevard Edina 55436                            665 Dawn Ave Shoreview 55112                       ,
 LAIIl Leslie AM 88 CIA              ~                      ~ ~ Mervin 89 CIA                                            LANDIN Mark Alan 86 11..                     888-5201 .       LANGE Debra Ann 89 GC                               373-8082

J:3=~        =:O~                                           ~~~~          l!:r..~~
                                                                                                                            8721 Sheridan Ave S Bioonington 55431                         1415 6th SI Se Minneapolis 55455
                                              82704001                                     378-0990                      LANDIS John Ralph 86 LAW                     824-9293         lANGE Dennis Virgil 69 VET M
3100 E ~ 51.55408 .                                   •     707 ~ Av Se 1303 Minneapolis &«14                               4840 Bloomington Ave Mpls 55417                               11 Horth 121h SI 27C Fargo 58201
LAITIIlEN LOllI JeIn GRAll    ,               1137-1236     ~ IlGber1 Joseph 88 GC                                       LANDIS Mary K 86 EO                  ..      488-3621         LANGE Gaty L 86 GC                                  825-0161
 8833 WoodIInd Dr Eden PrIilI 55344
'1';'=t~55~~                        ..•       4S2-8214      ~          s::: f::...S5iii
                                                              800 UnIwIslly Ave Se MinneopoIia 55454
                                                                                                    ·..· .. 331-2683
                                                                                                                            6« WCalifornia A 51 Paul 55117
                                                                                                                         I.ANDKAlIER Jodeen Pairi 89 ClA
                                                                                                                            887 E Hyacinth St Paul 55106
                                                                                                                                                                                          8324 Falcon Ct Edina 55436
                                                                                                                                                                                       ~~~~est89~'s5ii44                                   469-3166
LAKAlUA Jolin David Ant 87 IT                               LAIIIUT T _ AM 67 HE                                         LANDlIAN James Neill Ro GRAD              . 933-3223          lANGE Julie Margaret 86 MED
 11 EMI'IiIw Ln 51 PIuI 55110                                2t54 0lIvtr AVI N MjllI 55411                                  16644 Bywoext Ln Minnelonka 55345                            2457 Lyndale Ave So Mpls 55405
LAKE DlrTen PIuI 86 AG                                      LAMIEllT Wendy A 89 GC                          922.(1728    LANDMARK Lisa A 66 CIA                                        LANGE Kristine Marie 89 AG
~03Oo:l'=' ':'~ ~. ~~~                                      ~~~ ~~7~0
                                                                                                                            919 Heritage Ct West Vadnais HIs 55110                       4701 104th Ln He Circle Pines 55014
                       535-8918                                                                             777.14-46    LANDMARK Nancy Kae 87 CtA               ,    373-0659         lANGE Usa Chrisb 86 HE                 645-0659
J:l='~Nee'~ ..~.~.~3n:m.                                    ~~:C~l~.~.I~
                                                                                                                            PO Box 14178 Minneapolis 554 t4                              2206 Hendon Ave SI Paul 55106
                                                                                                            671.9245     lANDON Dawn Marie 87 CLA                     566-60\36        LANGE Lori Ann 66 GC                   332-6210
  414 Oher Ave No MpIs 5S4O$                                  2548 11'" Ave SO MpIa 55404                                   4124 7811l Ave No 9<ooklyn Park 55443                        2515 S 9Ih SI 11011 Mpls 55406          •
 LAJWl Lori Ann 67 NURS                 3S8-4583            ~RtI WIIIIIm J GRAD                             729-3931     LANDON Rollin Grace 87 HE                    129-8596         lANGE Nancy Lee 67 EO                  423-3340
  912211\. Ave. S.I115 MinnIIpaliI55404                       1810 E 28Ih 51 Mp1155407                                      3136 32nd Ave S Mpls 55406                                   3390 Lowet 147'" St WRosemount 55068
 LAICEl! MIfk WiIiIm 8lI FOR            581-3318            ~RTY KaII Jo 68 CIA                              623-4164    LANDON Todd Anthony 86 HE                    870-0616         lANGE Richard Alan GRAD                536-8019
 J:.rr,.:.~=                                                =:.=..:.:r~13
                                                                                                                            2700 Haniel Ave So 1302 MinneapOlis 55406                    5509 Yalea- Ave N Crystal 55429
                                              825-8421                                                      I            LANDOWSKI Katen Marie 69 ClA               .                  lANGE Susan Dorothy 86 CIA
  5132 CoIumbuI Ave So MInneIpoIis 55417                     3140 a - AVI S 1413 MpIs 55416                                 8615 2nd Ave S Bloomington 55420                             2575 Deltwood Ave St Paul 55113
 LAIfOlII(Y Paul AIvIIfM 89aA                 845-2331      LAMIRICHT AM '"'"'- 88 HE                       671-8862     lANDRUS Yvonne Annette 86 IT                 373-7369         lANGE Thomas Hatvey GRAD               586-5430
  1884 MnhIIl AveS! ..... 56104                              2119 PI1lIIllIy Ave S Mp1155404                                503W Comstock Hall Minneapolis 55455                         3601 Beard Av N Robbinsdale 55422     .


                                                                                                                                                                             LAFONTAINE - LANGE I STUDENT
               Case 3:23-cv-22130-MCR-ZCB                                                         Document 155-19                                       Filed 03/14/25                            Page 6 of 9

308
LANGE Wendy 86 HE .:....      .         831·7584            LANY James A GRAD                                              LARSEN Joel Myron AS ED                          873-4503      LARSDIl Diane L KuIlIer GRAD            ,.. 334-546&
  9936 Alabama Ad Bloomington 55438                         LANZ Joseph James 89 GC.....            ....... 489-2911        9360 Union HUI Blvd Belle PIoino 58011                         Al8 Box 200 F.....·55021
LANGEfE1S Dale Brian 88 IT              941·2247             842 Simon Ave St Paul 55117                                   LARSEN Kathleen Mario 88 ClA                     822·2n9       LARSDIlIlisa Lynn 86 HE.."..~               474:7952
                                                                                                                                                                                           7380 MinnewasIda Pkwy Exl:eIsior 55331
                                                                                                                           ~~4~'::'t="89~17 •
  5721 Brook Dr Edina 55435                                 LANZO Gina Caroline 86 ClA.......... ....,..... 831-7438
LANGEHOUGH Andrew Fred 87 MORSC ..... 533-3001               10201 Rich Rd Bloomington '5437                                                                                              LARSON Donna Jean 89 ClA                    780-2065
                                                                                                                                                                                          J:or.~~088~ ..~
 6000 Brooklyn Blvd MpIs. 55429                             LAO Norman YUIIgp8i GRAD                        847-9408         904 Duko St Rice lk WI 54888
LANGEMO Christine E 87 MED                                   1147 N Hamline SI Paul 55108                                  LARSEN.L        Mao 86 ClA                   , 869-8202                                                  3n792S
 232 Marsl1aII SI Paul 55102                                WAr;JAT Janles Slephen 88 CLA                   483-1056         819 E 71st SI Richfield 65423                                 2008 Penn /we SMplI58406
LANGEIIO Diane Kay GRAD                 772-5339             4300 Brigadoon Dr Shor       55112                            LARSEN Lynn Patrice 88 PHAAM                                   LARSON Eric ChrisliIn 89 etA
 3003 Ches1nut Sf Grand Fort<s ND 58201                     LAPAKKO Oovid Victor GRAD                       824-8714         1614 So 14th St Moorhoed 58560                                955 Lornberd'Sf Paul 5510$
LANGEN Dennis William 87 MORSC          778-9323             4149 Grend Avo S Mpis 55409                                   LARSEN Malind. Suo 88 ClA                           537-8808   LARSON Eric Edwin AS ED                    331-6890
  1174 Payne Ave 51 Paul 55101
LANGEN Patricia AM 89 CLA
                                                            WAKKO Mark Avery 88 GC
                                                             4265Jef1erson Excelsior 55331
                                                                                                            474:2388         7917 Noid Dr N BrooIdyn Park 55428
                                                                                                                           LARSEN Noelle Mario 89 GC.,                         3~
                                                                                                                                                                                           319 GIIlfield No'205
                                                                                                                                                                                          LARSON Eric Howard GRAD
                                                                                                                                                                                                                  MinnelIpois 55413
                                                                                                                                                                                                                                     927-5899
 315 So 1st Lacrescen155947                                 LAPEAN Georganne Jano 88 CtA                                     615 Fuhon Pioneer Hall MpIs 55455                             5228 James Ave So MinnoepoIis 55419
LANGENIlEIlG Christiana GRAD            825-1757             8011 W 105th St BloomingtOll 55438                            lARSEN Rick Michael 87 ClA            •         ,.. 722·1893   LARSON Erik David 88 AG
 3336 Stevens Ave So Minneapolis 55408                      ~~1I1B.::t~~2G=·554i·4 ..·....,· ... 823-3511                    3913 301h Avo S Mpls 55406                                    1230 N CIMr1:h Sf Sf Peler 58Ot2
LAIlGEIEEIlGEIl James Gre 88 IT :       m-8033                                                                             LARSEN Steven Miles GRAD                            899-8296   LAIISOIl Glen James 86 IT                  889-2691
  2903 BarteImy Ln Maplewood 55109                          LAPRAIII Judi1h Morgaret 88 VET M                                98 cambridgo St St Paul 55105                                 6301 PleIiint S #1 RichlioId 55423 '
LAllGER QwoIlynn GRAD                   944-7809            LAPlWI Sondra too GRAD                                         LARSEN Tamar. Lynne 87 IT                           379-0973   LAIISOIl Gregory Michael 88 etA
 6721 West 82nd SI Bloomington 55438                        LAPIDUS R~ Michelle 87 BIOSC              373-4;1.43             17830 2nd Ave N PIyn1Oll1h 55447                              7433 Colfax Ave South IlichIiold 55423
LANGER CharIolle Helen 89 GC                                 841 W~1ow Ridge Dr Marietta GA 30057                          LARSEN Tor Jermund GRAD                           , 631-0028   LAllSDlllan TIno1hy 88 etA                 376-6847
 R 1 Dresser WI 54009                                       LAPLACE Richard Jason 89 ClA                                     393 Old Hghwy 8 #204 New llrigIIton'55112                     Sanford Hal #231 MplI554SS
LANGER Dennis Eugene GRAD               420-7133             4600 Nine Mile Crook Pkwy BIoomingtOll 55437                  LARSEN Vrginia C AS etA                             ~7-6161    LARSDIl Jali,es AnIhonr 89 IT              934-3728
 9136 ~ Ct Maple Grove 55369                                LAPLANT lise Ann 89 CLA                   378·8442               5116 14th SI Nw Austin S5e12                                  5208 Birch Ad Mtka 55345
LANGER Donna Jean 87 BUS                729-2601             1129 8111 51 So Mpls 55414                                    LARSEN Wendy LYnn 89 ClA                            331-3281   LARSON James Ca188 etA                     542·1024
 R 2 Box 126 Eas-1h WI 54011                                LAPLANT Sleven Joseph 89 etA              336·1955               314 10th Ave So MpIs 55414                                    2207 Kings VrItoy Ad GoIdIIn VrItoy 55427
                                                                                                                                                                                          LAIISOIl James E Jr 87 GC
                                                            J~~ ~G:b~I~~
LANGER DoogIas L 89 VET M               648-3765                                                                           LARSON A Jo.nne GRAD                                721·2559                                              487·2097
 2117 Gordon Ave Sf Paul 55108                                                                           870-4284            3140 ~4th Ave S MpIs 58406                                    1105 G.1tier Sf Sf Paul 56117
                                                                                                                                                                                          LARSDIl James ErIng GRAD
~~T~s:~1~ ..·..··                              488-0419
                                                              902 W Franklin Avo # 19 Mpis 55405
                                                            LAPOl£ Luwanna Mario 89 ClA
                                                                                                                           LARSON Aaron R GRAD
                                                                                                                             3551 Ow...'o SI 1212 Shor8Yiew 55412
                                                                                                                                                                               482-0719
                                                                                                                                                                                           8101 WayZIta 80uIevIrd Golden Vdey 55428
                                                                                                                                                                                                                                     545-7407

LANGER Jane AM 87 ClA                          474-8378       526 11111 Ave. So Apt. 302 MpIs. 55414 ..                    LARSON Amy Jo 86 NURS                               935-9768   LARSON Janet Bo1h GRAD                     920-5870
 235 Woodpecker Ad TOllka Bay 55331                         I-AJIOllTE lawrence Robe< 88 LAW             633-3780            15880 Ton~.wooo Dr Mtka 55343                                 3957 Drew Ave S MinneIpoIs 55410
LANGER KayIa Michaele 88 ClA                   546-9869       2080 Long leke Rd New Brigh10n 55112                         LARSON Andy Froo"c~ 88 ClA                                     LARSON Janet L:;,;.:~            •
  7905 W 22nd 51 SILouis Pili< 55426                        LAPP ChoryI Ann GRAD                         933·2610            6332 Falcon C1 Edlllll 55436                                  2000 DixOll Dr              55431
LANGER'Susan Patricia 89 CLA                                  8879 Langtord Dr Edina 55436                                 LARSON Angel. M8I)' GRAD                            721-1521   LARSON Janice LouiIe 88 ClA                941·1763

                                                                                                                                                                                          ~~~~
  805 4111 SI South Virginia 55792                          LAPPEM Shannon Renee 87 ED                   378-1824            4256 Longfellow Ave So Minneapolis 55407                 .
LANGESlAY MicIlael John 88 CLA                 521-7900       409 UniY Ave So #9 MpIs 55414                                LARSON Ann louise 86 ED..         ,.........,...... 724-5319                                              890-2315
  7142 Doane Trail E. Inver Grove 55075                     LAPPEN Shawn Michael 88 GC                   633-5620            5640 Standish Ave MpIs 55417                                  1008 AsPen Dr 1llmlvIe55337
LANGEVIN Mary Ca1herin 86 ED                                  1631 21st Ave Nw New BIigh10n 55112                          LARSON Ann Marie 86 BlOSC                     ..... 421-6526   LARSDIl Jay EdiIIrd 88 etA                 253-2128
  15201 Co Rd 5 IlumsviIle 55337                            LAPPI Pouletle Marie GRAD.......            .438-6348            11240 109111 Ave N Osseo 55369                                108 Greenock Ad 51 Cloud 58301
LANGEVIN Nancy Lee 89 ClA                                     1102 Nighlingale Blvd Slit1water 55082                       LARSON Annetto Merio 87 ClA                         872·9118   LARSDIl Jay MicIlael89 ClA                 473-7674
                                                                                                                                                                                          ~-='8~.~~ ..~
 25 Sidney PI So # 1 Minneapolis 55414                      LAQUA Debra Louise GRAD                w     871·3720            2733 2nd Ave S MJlI\55408
LANGFl£LD Janet c.oI86 CLA                     7n-5218        319 E 24 St F31 Mpls 55404                                   LARSON Annette Ma!Y 86 BUS                          421-8370                                              442-4742
 1675 E Cty Ad B St Paul 55109                              LAIlACIlLucia lnes 89 ClA                    373-7117            1808 Cressy Ave AnoI<a SS303                                   184 Carver Sq WIICOllia 55387                   .
LANGflELD Jeffrey Scot 88 ClA                  457-6206       210 Delaware SI So Minneapolis 55455                         LARSON B.rbar. Ann 88 IT                                       LARSON Jeanne Thoreee 88 AG                n1-6212
 460 Ruby Dr W Sf Paul 55118 ..                             LAR81SlAW Richard Otu GRAD                                       1227' 41h St Se '205 MinnoepoIis 55414                         913 ! Sixth Sf Sf Paul 56106      '
                                                                                                                                                                                          LAIISOIl Jeannie Theresa AS MED
~~:L'~ ~·554·'i                          · ·378-1058          16154111 St Mpls 55454                                       LARSON Barbara Ann 86 OT...
                                                                                                                             2114-MarsIiaIl Ave 51 Paul 55104
                                                                                                                                                                               845-1307
                                                                                                                                                                                            784 W County Ad I Sf Paul 55112
                                                                                                                                                                                                                                     482-7866
                                                            LAIlGAESPADA David Andr 86 BIOSC             376-6904
lANGFORD Julie Ann 88 tAW                      644-9883       2302 Standish A. St.Paui 55108                               LARSON B.rbara Ann 89 ClA                           388-7110   LARSON Jeffrey Carl AS ED
  178 N Fm #1 Sf Paul 55104                                 LARGET Bret Robert 89 IT                     259-0843            110 StOlly Creek Cir Mankato 56001                           LARSON Jeffrey Lotis 89 IT
LANGFOllD Paul Wayne GRAD                      721·5009       2045 Church St Wauwatosa WI 53213                            LARSON Barbaro Ann 80m 88 LAW                       869-4931     1515 u-sily A. So MivloIIloIis5S414
  2439 15111 Ave. S. MpIs' 55404                            LARHRAFI Mhammed GRAD                        376-6157            7610 Pooo Ave So #245 Richfield 55423                        LARSON Jeffrey R 87 GC                     429-3113
lAIIGHOLZ AM Clairo GRAD                     ,.. 944-0840     614 Delaware St So Minneapolis 55455                         LARSON 8aIIlara Smith GRAD                          483-7418     3677 Dennis Ln White 8Nr La 55110
  5531 0lIk GIo(I Ad Edina 55435                            LARI Richard lawrence AS MED                 890·1904            28840 Jocelyn Ave N ChiIaao City 55013                       LARSON Jeffrey Roes 88 IT       ,          376-6052
l.ANGLE Gemol GRAD                                            78 S Allert 51 P.ul 55105                                    LARSON Bany James AS MEll                                        1307 Centennial Hall MinneIpoIs 55456
LANGUE John C 89 CLA                                        LARINAJAFl M Hassein GRAD                    823-1039          LARSON Bert Warner AS MED              •                       LARSON Jennifer A 87 VET II                644-4203
  587 Como Av SI Paul 55105                                   PO Box 14312 Dint<ylown Sf MpIs 55414                        LARSON Brace R 86 BUS                               935-6275     1604 Char1es !we ApI 12 Sf Paul 55104
~~~~:                        fui2· . ·         425-0254     LARKEY Theresa Mari!l87 DENHY                224·1008            5007 West Mill Rd MinMtonka 55345                            l.NISON Jennifer AM 86 ED                  890-2315
                                                              R 1 Box 106 Avon 58310                                       LARSON Bradley Dou!IIas 88 etA                                   1008 Aspen Dr 8In)MIe 55337
LANGLOIS Jon Ctfistoph 89 GC                                LARKIN Eileen Marie GRAD           :         641·0802            8301 Red Rock Ad I:dIen Praiie 5S344                         ~:=I~~~·5539i·                             471.9626
 3736 17111 Ave So MpIs 55407                                                                                              LARSON Br.dley Jerome 89 ClA
LAIlGIIACK John Owen 86 IT              483-5513              1510.w Larponteur #2 F.1con Height 55108                       82411th Avo $0 Waseca 58093                                  LARSDIl.lady Lynn 88 AG                    37&-7626
                                                            LARKIN Kevin Charles GRAD                    338-6868
                                                                                                                                                                                          ~~1:.:.~~r.~
  '331 2345 WoocIJridgo RoSO¥iIIo 55113                                                                                    LARSON BretOll Conrad 89 ClA                        427·2455
                                                              1414 S 3m SI #418 MpIs 55454                                   161 Yaha Dr AnoI<a SS303 •                                                                              331-5102
~~~~75~3 ·..·· ·644-9969                                    LARKIN Marie Annetto 86 CtA                  899-7322          LARSON Brett Alan 86 IT                             ~758        320 13lh A. So #4 MplI55414
LANGllEII Mary Mtta 87 NURS           529-4593                2099 Vjlago Ln Apt C-6 St Paul 55116                           8932 Nortl]wood Pkwy New Hope 55427                          LARSON Joel EdwiIrd AS ED                  884-6642
                                                            LARKINS Clarence R 89 GC                     893-1135
                                                                                                                                                                                          ~~A=~~.~
 5214 Aldrich Ave N Minnoapolis 55430                                                                                      LARSON Brian Eric 86 BUS
LANGIl Konnolh Francis 86 IT          331-8078                2640 BlaiSdell Mpls 55408
                                                            LARNEY Barbara Eldon GRAD
                                                                                                                             3901 W 82nd Sf Bloomington 55437                                                                        529-80i2
 521 12111 Ave So MpIs 55414        .                                                                                      LARSON Brian Keith 89 IT                                        2820 Victory Mem Dr MpIs 55412
                                                              1875 Valerie Ln New IlIighton 55112                                                                                         LARSOIl John Elwood 87 BUS
                                                                                                                           ~~n L~ ~.~ ..~~~~ ...... 339-4708
UNGSETH MIll< Norman 86 ClA           378-9261
                                                            LAROCHE Roger Ronan 88 MED
 520 Sst 90 Minneepolis 55414
~~nr: :sC~i·4 ..·..· ··..·..·.. 378-2412
                                                            LAROCK Gregory Joseph 87 GC                  484-3272           2300 Franklin Ave E. 208A MpIs 55406                          ~~~~1~.~~ .......... 647.1048
LANGSETIIO Knut GRAD                           378-2859     LA~i:,n~:: =~~.1.1~                             454-5587
                                                                                                                           LARSON Brion Paul 86 ClA
                                                                                                                            15520 Morraine Way Eden Praiio 55344
                                                                                                                                                                             937·9373      2380 Como Ave Sf Paul 55108
                                                                                                                                                                                          LARSON Karen Aoee 86 AG                    845-6583
 524 HIron Sf So #6 Minneepolis 55414                        2073 BIuesIOll9 Dr Eogan 55122                                LARSON Brian Royce GRAD                           561-9588      1381 N CIevIlIand SI Paul 55108               •
LAHGSJDEH Janine Elain 88 CIA                               LAROCQUE Briget Rose 89 GC                      545-0716
                                                                                                                           ~~; Jle..,~~ . ~~                                              L~~'tit~V~~·~·55316.. 421-3021
                                               331-6818
 215 S1h Sf No#3G MpIs 55413                                 1108 SOmnler Avo Golden Valley 55427                                                                           546-&488
LANGTON Philip Gerald 88 CLA             833-8012           LAROII Eric David 89 FOR                        427·1079        2116 Indian Rd W Mtka 55343                                   LARSDIlKeri Marietta GRAD                722-4832
 18581lockmon Ave Ardon Hills 55112                          1012 Oakwood Torr ~n 55316                                    LARSON Ca~a M 88 ClA                             378-1889       3320 L.ongIeIlow Ave , 204 MpIs ~5407
LANGTON Ten Jo KinlzI AS BUS             431-2842           LAROQUE Wdliam Richa 86 PH                      874-8715        1535 8th 51 Ne MpIs 55413                                     LARSON Kalin Eizabe1l1 86 ED             874-7841
 14630 Garret Ave '406 AppIo VaIIo¥ 55124                    C/O 215 Oak Grovo Apt 180 MpIs 55403                          LARSON Carolyn Suo 89 HE                         872-0193       2413 11111 Ave So MpIs 55404
                                                            LAROWE Elizabeth Louis 89 CLA                                                                                                 LARSOIl KlII1 Andrew 87 ClA ,
                                                                                                                           ~~r:.~~ve~I~~~
LANGWORTHY MicIlael Fre 88 ClA           3n-4340                                                                                                                                                                                   452-3545
                                                             R 5 Box 424 Cambridge 55008                                                                             484-1988
...:.So~~~~d..~.~ ..U.~~/~ S..~~~~~:24
 3139 281h Ave S MpIs 55406
                                         .                  LAROWE Judd Lone 89 MED
                                                             801 University Ave So #10 Mpls 55414
                                                                                                                            830 WCO Rd I St Paul 55112
                                                                                                                           LARSON ctvistopher JolT 86 IT             822-6925
                                                                                                                                                                                           4116 StrawIleny lri Eagen 55123
                                                                                                                                                                                          LARSON Kattvyn Eizabe GRAD
                                                                                                                                                                                           14950 Pixie PI Cir 58 Prior Laka 55372
                                                                                                                                                                                                                                   447·2735

LAIIINGIWII Marcia Kay 86 ClA           331-9327            ~~~~ t"1~~~                                     934·7932        2712 Bo.mswick Ave So SI Lotis Park 55418                     LARSON Kathy ~ 87 ED                     S44-5IJ09
 626 Ontario Sl S.E. Minneapolis 55414,                                                                                    LARSON Cindy Joan 87 LAW                  871·1881              10100 291h Avo No f't1rnouIIl 55441
LAHNlIlS Alan James 87 tAW              378-2953             LARRAGA JesSe Emmonoel 88 ClA                376-6645          44-43 UpIon" Avo So MpIs 55410                                LAII&ON KennetIlla!ol' 88 ClA
 520 IVon SI So MpIs 55414                                     911 22nd Av S , 372 MpIs 55404                              LARSON Craig Brian 86 IT               , 935-9943              LARSON Kant RaIn 86 etA                  332-4851
LAIlNERS Ka1hIeen Ann 87 BUS
 1n5 Lexington Ave #22 St Paul 55118
LANNERS Nicholas GeraI AS IT
 4990 71st Av LoroIlo 55357
                                        454-5808             LARSEN Andrea Susan GRAD
                                                               4809 15111 Ave S MpIs 55417
                                                             LARSEN Barbara Ann 86 ClA
                                                               77 No Lesinglon Ave #5 So SI Paul 55W4
                                                                                                          823-8918

                                                                                                          292-9912         ~~~;r~·5fJ407
                                                                                                                           LARSON Daniel Lynn 88 ClA
                                                                                                                                                                         . ·.
                                                                                                                                                                   871-8484
                                                                                                                                                                                           2S26 8111 Sf S # 1 MpIs 55454
                                                                                                                                                                                          LARSON Kevin E 89 ClA
                                                                                                                                                                                           1267 Pike leke Dr New Br9tton 55112
                                                                                                                                                                                          LARSON Kevin Jon 88 BUS
                                                                                                                                                                                                                                   633-6649
                                                                                                                                                                                                                                   545-1070
LANNING Dale Eric 89 ClA                724-8829             lARSEN Craig Paul 87 ClA                     588-1871          2501 Lawndalo Ad Grand Fort<s ND 58201                         13511 Je1lary Way MinnoIonka 55343
 4439 Cedar Ave S MpIs 55407                                   4525 81s1 Ln N Brooklyn Park 55443                          LARSON Doniol Wilmer 88 ClA             338-9051               LARSDIl Kevin AicIllId 89 GC
LANNON Daniel James 88 PHARM            845-1179             LARSEN David 1IIl.n 86 BUS                   373-5754           1506lourel Ave #36 MpIs 55403                                 201 Union Nor1hfield 55057
  1710 W Larpenteur Ave 2-J Falcon Heighl55113                 2306 Pierce Sf No MpIs 55418                                LARSON David Allen 87 AG                729-8089               LARSOII Kilri lee AS ED _                644-3284
LAIIIUE Lawrence EYIIlS 88 GC             631-0893           LARSEN David C 89 ClA                                          5412 281h Avo So MpIs 55417                                    793 No Allert Sf SI Paul 55104
 1385 W EJdridlle Av Roseville 55113                           4019 Quentin SILouis Pili< 55416                            LARSON David Gregory 86 IT              822-0627               LARSON KrialJIaMary 89 AG
LAIlO Char1es ~ 86 BUS                         331·7590      LARSEN Denise Ann 88 ClA......         ..... 825-7508          3248 Girard Ave S #1>-1 MpIs 55408                             Ar 1 Box 116 Clonomont 55924
 929 5111 Sf So MpIs 55414                                     4821 Chicago Ave S Minneapolis 55417                        LARSON David Jerome 88 ED               986-5849               LARSON Kurt H 87 ClA
LAIlO Lori Ann 87 ClA                           448-2351     LARSEN Erik Jon 89 CLA                       866-8329          n20 Penn Avo So # 221 Richfield 55423                          40 Sl Albans Sl Paul 55113
   111 W 2nd Sf Chaska 55318                                   7205 Lyndale Avo So Richfield 55423          •              LARSON Oovid John 86 AG                 b46-8838               LARSON taura, Astri 88 ED                m -3019
LANPHEAR Robert Fredor 86 IT                    823-2239     LARSEN Erik Voncenl W. 89 ClA                                  2355 Gordon Ave St Paul 55108                                  2338 E 15th Avo N Sf Paul 55109
 ·3239 1st Ave So MpIs 55408                                   7401 Convenby Way Edina 55455                               LARSON David Kingston 86 ClA            339-0439               LARSON leland GIonn 386 BUS              869-1713
LANPHER Amy Michele 89 GC                       331·7801     LARSEN Genevieve Kathr 89 CLA                588-2286           1530 S 6th 5t #c401 Minneapolis 55454                         6905 PortIond Ave Richfield 55423
  1301 7111 51 $0 Minneapolis 55414                            3107 Dupont Ave N Mpls 55411                                LARSON David Knighl 89 AG           .                          LARSON Laztio Thelma 86 BIOSC
lANQU1ST Heether Lyn 89 CLA                                  LARSEN Jane Ann 88 ClA                                          18582 Edison SI No AnoI<a 55304                              LARSON Lindo Kay GRAD                    452-4178
  8819 Auto Club Dr BloomingtOll 55420                         8901 Granado Ave So CoI1age Grove 55018                     LARSON David Patrict< 88 GC             920-6854                 1017 Marie AYMendotaHoigh 55118
lAMS Jored Michael 87 LAW                       340-1801    'LARSEN Joy Russell 89 IT...            , 425-5178               4412 W 70th 51 Edina 55435                                   LARSON Lindo Mao AS ED                   871-3889
  1403 RiveMew Tower Minneapolis 55454                         7087 Carey In Maplo Grovo 55369                             LARSON Oovid Theodoro 87 CLA                                     2506 12111 Ave South Minneapolis 55404
LANT PauIlne Mtta 88 VET M            ......... 389-1758
                                                            ~= ~O;v3idJ~sM5~i4· ..· .... ·..·.. 37~                        LARSON Dean Scott GRAD                  811-6440               LARSON linda Suo 88 tAW                  379-4081
  1280 GillIs Av SI Paul 55108                                                                                               18181\4111 Ave S'17 MpIs 55404                                 1405 Como Ave So Apt 11 Minneapolis 55414
LAIlTEIlIIAN MIll< T 89 CLA               ..... 331-8574    LARSEN Joffrey Lawrenc 89 IT :.           ......... 378-3984   LARSON Dean Thomas 88 ClA                                      LARSON lisa Suo 89 ClA                    447-5324
  1124 15111 Avo So Mpls 55414                                1000 8th St Se '6 Mpls 55414                                   Box 92A Sargoont ~5973                                         16181 Creekwood Cir Prior lake 55372
LANTTO Samuel Ernest 87 IT                                  lARSEN Joann Marie 88 HE             ..          822·9978      LARSON Debor.h Jean 89 CLA              644-7146               LARSON Luann Elaine GRAD                  553-9067
  3955 Ookota Ave S 5t Louis Pk 55418                         3311 Elliot Avo So Mpls 55407                                  1423 No P.sca1 St St Paul 55108                                15716 27th Avo No PIymou1h 55447


STUDENT / LANGE - LARSON
                       Case 3:23-cv-22130-MCR-ZCB                                                             Document 155-19                                 Filed 03/14/25                        Page 7 of 9


 LAIlION MWa Lynn 86 aLA
   3210 Kent 51 Sw Prior Lake 55372
 LNl80N Ulrgnt CarniI GRAD
  3564 ~ Ct 114 MplI55416
                                                   447·5386

                                                      929-4045
                                                                   LMSON TIIIlOlhy Dana GRAD
                                                                    1196 Ray PI St PIUI 55108
                                                                   LMSON TIIIlOlhy GeraJd 86 ClA
                                                                                                                  842·9448

                                                                                                                  823-3180
                                                                                                                               LAUBE Sera Jane 89 ClA
                                                                                                                                8743 GarfiaId RicllIIeId 55423
                                                                                                                               LAlIIY Marl< GerIid GRAD                 375-1567
                                                                                                                                                                                      LAW Susan K 87 EO
                                                                                                                                                                                      , 145 Harrison Ave 5 Hopkins 55343
                                                                                                                                                                                      LAW Yuk Wa 86 PHARM
                                                                                                                                                                                        210 Delaware St Se 1420W MinneaPOlis U 55455
                                                                                                                                                                                                                                       ,-
                                                                                                                                                                                                                                     939-9557

                                                                                                                                                                                                                                     373-7347

                                                                   ~~~=~D
                                                                                                                                2211 S 8Ih St 1133 Mp1155404
 lNIIOIIllIrgnt Irene 89 N3                                                                                484-5605            LAUCK I.aurie Lynn 89 ClA                              LAWAL Adewale 88 GC                            871·7351



                                                                                                    . ....
  1381 N CIIvioIInd Ave 51 Pal 55108                               4971 Scandia Tr No PO 38 FonIIll.ake 55025                   4298 145 Ln Nw ArwJINer 55304                           PO Box 1004 MpIs 554,10
 lNIIOII Mlrion HGRAD ............•.................. 623-0886     lNIIOII Trov A89 ClA
                                                                                                                               ~~vL~88Mit~~..Dii5~72-112O                             LAWAl MoI1ammed 89 CLA
                                                                                                                                                                                        6456 841ll Ct Brooklyn Part< 55445
                                                                   ~~            =~ ~
  1020 E 27lh Ave Se MinneIpoliI55414
 lNIIOII MIlk EdwIrd 86 BlOSe                 ,       341-0031                                                    572.Q287     LA         IlrIlIey James 88 ClA         722-9940      LAWIN ~ Bruce GRAD                             849-7148

                                                                                                                               LA~~M:,y,.~
  1IlOO S 8Ih 51 B434 MpIs 55454                                   8540 E River ReI-I337 Fridley 55432                                                                                  1731 DaylOn Ave Sl Paul 55104
 LMIlOIl Malt< EdwIrd 86 aLA....•.................. 872-8688       lNIIOII WlIIiam Richard 89 DENT                                                                      847.9875      LAWLER GrflllOlY Jon GRAD                      425-3532
  208 E 28Ih 51 I a Minneapolis 55404 .                             1558 E ClaIr hie 51 PIUI 55108                               1180 FIfield Av 111-4 St Pal 55108                     8434 Sumter Circle N Brooklyn Perl< 5.5445
 LARION Marl< l8Ol1lld GRAD                           331·7858 •   LAIl'I1ON Vuwt Amonoo 87 ClA        872·7576                LAUDOH Dennis At1Iu 89 MEa                             LAWLER Julie Anne 88 LAW                       227·7058
  727 15th Ave Se MpIs 55414                                        2312 1st Ava S 1307 Mp1155404                               PO 1935 2115 Summit Ave St Paul 55105                   93 S lexington Pkwy 1301 51 Paul 55105
 LAIIIOII Marl< Richard 86 IT                                      LAICHK£WITSCH " - No 87 ClA                                 LAUE Richard Roy GRAD                    377.Q331      LA.WLER Mary Patricia 86 NURS                  889-8118
  528 JnaviIIe 51 Fridey 55432                                      1000 8Ih 51 Se 111 MpIs 55414                               1204 Cedar lake ReI MpIs 55418                          2078 lincoln Ava. SI. Paul 55105
 LAIlION Marl< RClllart 89 aLA       ,•.............. 623-4048     LA8DAY Fraderic Ian 118 LAW         331·1575                LAUER 0anieI Andrew 89 GC                935-3042      LAWLER Mava L AS CLA                           331·2872
  3128 NorlIMew ReI W&ylIIa 55391                                   1128 51ll 51 Se MinneaPcJlis.55455                          3532 Quebec Ave S 51lOli1 Perl< 55426                   70751ll St Se 11029 MpIs 55414
 LAIIIOII MIrtin Pal GRAD                          372-2478        USEU. Angela ~ sa IT                789-5548                LAUER Joel Richard 87 IT            :    379-1512      LAWLER Patricia Marie 89 W                     574-ll243
  3858 441ll Ave So MpIs 55408                                      823 3nl St Kenyon 55948                                     IlOO 101h Ave Se Apt 301 MpIs 55455                     5050 Pennine Pase Columbia HIs 55421
 ~~==                                              784-7425        LAIltlWlITAFIlESlll Majid AS CLA                            LAUER John EdwIrd GRAD                   690-5472      LAWlER Rose M 87 CLA

 ~:tt            =:,c;:
 LAIlION Mary Jo Hollman 87 aLA
                                                   633-3295
                                                   874-9100
                                                                    2344 Hampden Ave 1304 St Pal 55114
                                                                   ~"::ve~89sfug
                                                                   LASHlHllIO Robert 0 87 IT
                                                                                                       533-0333
                                                                                                                  83S-8lI3ll
                                                                                                                                 1322 Fairmount Av St Paul 55105
                                                                                                                               LAUER MeInen C&I8y 86 HE
                                                                                                                                2215 3rd Ave S MpIs 55404
                                                                                                                               LAUER Paul ChriIliIln 89 ClA
                                                                                                                                                                        871·7808

                                                                                                                                                                        845-1634
                                                                                                                                                                                        3701 28Ih Ave N Golden Valley 55422
                                                                                                                                                                                      LAWLER Thomas Patrick 86 IT
                                                                                                                                                                                        5050 Pennine Pass Columbia HIs 55421
                                                                                                                                                                                      LAWLERLOUGHUN Mollie GRAD
                                                                                                                                                                                                                                     574-0243

                                                                                                                                                                                                                                     373-3821
  501 WFrriIn Av 110 MpIs 55405                                     1438 Role PI 11 RoeeviIIe 56113                             1736 Taun 51 Falcon He91155113                          Middlebrook Hall MpIs 55455
 LAIIIOII Meiaaa Kalheri 89 ClA                    37U771          ~Patrlc:ia87HE                                 739-8117     LAUER Paul Francis 86 IT                               LAWRENCE Carol Ann 89 GC                       589-0100
  1122 Uriverlily Av Se MpIs 55455                                   1133 C&dnood Dr WClOdluJ 55125                             814-81h 51 Se MpIs 55414                                2114 DuponI Ave N MiIIneepoIis 55411
 LAIIIOIIIolichaeI Dean 87 ClA                     542·9254        LASlCA Richard Scolt 89 ClA                                 LAUER SandrlI Ka1hIeen 89 GC             776-4030      LAWRENCE Daniel Scott89 ClA                    459-2110
  1121012111 Ave N 17 PIymouI\ 55441                 .              3827 TCllNwood ReI Mtl<a 55345                              285 N Poin1 Douglas ReI St Pal 55106                    8428 Kimbro Ave S Cottage Grv 55016
 LAIIIOII MicIlaaI " - 89 ClA                      373-7056        LAlKA Sleven David 88 IT                                    LAUER William David 86 AG                842·9713      LAWRENCE David Joseph 86 EO                    427.Ql02
  781 FIAlon 51 Se Rm.481 MpIs 55455                                5708 GIlfieId Ave S MpIs 55419                              2028 Br_ ApI 8 St Pal 55108                             11425 Ivywood S1 Nw Coon RlJPidS 55433
 LAIIIOII MicIlaeI John 86 IT                      338-2738        LAlKA TIIIlOlhy Eaton 86 IT     ,              861·5989     LAUFENElCl ~ Chri 89 ClA                 373-0450      LAWRENCE David MaW- 86 ClA                     339-8709
                                                                                                                               ~~~.~
  1829 fMnIida Ave MinneIpoIis 55454                                5708 GIlfieId S MpIs 55419                                                                                          527 21st Ava So Mpis 55454
 LMIlOIlIolichael Kent 86 ClA                      593-5584        LA8lCE Andrew Roes 89 ClA                      379-8482                                              871-ll855     LAWRENCE Geoffrey Fran GRAD
 J:b..
  2t58
       ar:::51 Na~~~.~~
         ~        MpIs 55418
                                                   788-7890
                                                                    412 22nd Ave S MpIs 55455
                                                                   LAlllCEY David EdwIrd 88 ClA
                                                                    2405 WoocIwinde Ln W&ylIIa 55391
                                                                                                                  471-t880
                                                                                                                                 !l18 Aldrich Ave So MpIs 55408
                                                                                                                               LAUClIlUII David EdwIrd GRAD
                                                                                                                                 3529 Jerry 51 WIite IleI< La 55110
                                                                                                                                                                        835-8087
                                                                                                                                                                                      LAWRENCE Heather Lynn 86 IT
                                                                                                                                                                                        1050 Se 131h Sve Minneapolis 55414
                                                                                                                                                                                      LAWRENCE Jody 86 W
                                                                                                                                                                                                                                     331·7872

                                                                                                                                                                                                                                     729-3913 cO
 LAIlION MichaIIe Marie 89 ClA                     454-5882        LAIlCOW " - Allen 89 GC                        934-3793     LAUCltILlH James lotic:II8eI89 IT                        1615 E 40Ih 51 Mpls 55407
                                                                                                                                 3529 Jerry St WIite Bear Lk 551JO
 J:.s.:::'~~.~.~
  CInIamiaI Hall 18111 Minnaapoia 55455
                                                   373-0855
                                                                    8728 HalImIIk Dr Eden PniriI 55344
                                                                   LAIlCOWIKE ~ Eiza 88             eo
                                                                    8820 Auto CUl ReI IIIoon*IIIIon 55438
                                                                                                                  944-2121     LAUGIIUN Ka1hIeen u.; AS MEa
                                                                                                                                 785 Cedar 51 N 13 51 Paul 55103
                                                                                                                                                                                      LAWRENCE Rebecca Sheer 86 ClA
                                                                                                                                                                                        1788 Wellesley St PIUI 55105
                                                                                                                                                                                      LAWRENCE Staphanie Lyn 89 ClA
                                                                                                                                                                                                                                     688-2223

 LMIlOIl        Lyn 86 ClA               842·1083                  LASLEY Dech I.lNonne 89 CIA                                 I.AUClHUIIIolichaeI Thoma 88 ClA       699-0482          3244 lexington Ave N Shoreview 55112
. 2203111aka Av 11 MpIs 55108                                       3214 lMer1 MpIs 55412                                       1818 WeIIeIIey 51 P1U155105                           LAWRENCEWendy Lynn 89 ClA                      728-7436
 ~         :,,:"=55;·;3 ·               ·833-5058                  LASLEY Usa Marie 89 ClA                                     LAUIIAIIII Cw1 William GRAD
                                                                                                                                200 51ll St Se 1302 Minnaapoia 55414
                                                                                                                                                                      379-2206          3361 Lilrary Ln 51 Louis Prk 55428
                                                                                                                                                                                                                                 ~.. 483-4037
         ~
                                                                    3954 3nl Ave S MpIs 55409                                                                                         LAWRENCE William Denri 86 ED
 LAIIIOII          Edwin 86 IT
  2429 ViUlg Cl Nw Rochesler 55801
 LMSON Norma Kay GRAD
                                                   288-8086        LAlLEY Martin Clay 86 IT_
                                                                    11505 K.".;ngton Dr. Eden Pniril55344
                                                                   LA8UY Roger Alan GRAD                  ,
                                                                                                                  944-3588
                                                                                                                     •
                                                                                                                  721·1354
                                                                                                                               LAUIIANN laln Ann 86 ClA
                                                                                                                                10332 Humboldt A S Bloominalon 55431
                                                                                                                               LAUIlDEIIGAII Jeffrey WIll 89 tLA
                                                                                                                                                                      869-1217

                                                                                                                                                                      724-3126
                                                                                                                                                                                      J~Dwasso~          =c:: ~. S.S.1.~
                                                                                                                                                                                        2517 BeIty Ct Green Bay WI 54301
                                                                                                                                                                                                                              ... 437.2251
  203 N 12111 St Moortlead 56S8O                                    3336 CadarAve S MpIs 55407                                  1958 Woodhaven Ln IlukJIh 55803                        LAWROSKI Nancy,Ann GRAD
 LAIIIOII Pamela Rat GRAD                          3n-8800         ~ Edith Louise 86 W                            735-5076     LAUIl Bernard P1U187 ClA               831·8564         LAWSON Cynthia Marie 89 GC                 824-1152
                                                                                                                                2558 N HerIheI St floseoIiIe 55113
 ~~::~~.~~~~                                       833-5481        =~~":: m~.~._                                  331-6544     ~~;tET~i                              ·644.9448
                                                                                                                                                                                        701 W l.al<e St 11 Minneapolis 55408
                                                                                                                                                                                       LAWSON David Marl< 86 LAW                  824-1250
   1827 181h TII/IC8 Nw Haw Br9'fon 55112
 INISOII Pa1ricia Ann 89 ClA              479-3270                 ~~~L~~~.~~.~                                   544-4502   LAUREII1S Luanne Parker GRAD
                                                                                                                                                                                        4928 HarTie1 Ave S Mpls 55409
                                                                                                                                                                                       LAWSON Fredric Douglas 86 ClA
  7814 CIy ReI 8 MapIa Plail 55359                                  3015 Quaker Ln PIymouIh 55427                            LAUIII11lENSII11IIlrian A GRAD             37().()56()    LAWSON Gene Edwin! 89 MEO
 LAIIIOII PatrIc:ia Jo 86 IT              m·n32                    LASSER MicIlaeI John 88 ClA                    789-42llll  2828 22nd St E MpIs 55408 .                             . 218 Adams Av Na Madelia 58082


                                                                                                           ....
  1885 NalIlIIka Ava E St PIUI 55108                                3908 Cleveland Col HIs 55421                             LAUII8EII Brett GRAD                       872.Q543       LAWSON John An1hony 86 BUS                 331·5417
 LMSON PIUI L 88 ClA                      842-9227                 LASSIG Craig ~ 87 ClA                                      712 W FrriIn 19 MpIs 55403                                425 UniVersi1y '305 Minneapolis 55414
                                                                   ~A==~~~.~.~.~
  1878 RcIIIyn Ava 51 Paul 55104                                                                                             LAUII8EII Jeffrey RichIr GRAD              489-1427       LAWSON Julie Beth 86 etA                   870-7299
 LMSON PIUI RClllart 86 ClA               339-8330                                                                475-2129    984 N Laxingtlln Pkwy S1 Pal 55103                        907 West Franklin 122 Mpls 55405
  221A(Fj 8Ih Ave Se MinneIpoliI55414                               2805 Kimbarty Ln PIymouI\ 55447                          LAIIll8EJl Scolt 0Ia1 89 ClA
 LAIIIOII Paula l.oIise 86 BUS            521·1 In                 WTAVICH ~ 0 89 CLA                                         15101 PelIIer Ln Milnetonka 55345                        ~~1: ~R~·554ii6 .......... 721-8039
  2335 Sheridan Ave N MpIs 55411                                    2805 Kimbarty Ln I'Iymot,th 55447                        LAUIlVlCK Mlrion Hanson GRAD               342-3741
                                                                                                                                                                                      LAWSONlyM Marie 89 GC
 LAIIIOII Paula Suzanne AS FOR            724-7609                 WWELL ~ Kay 87 ClA                             549-8847    1212 Yale PI 1283 MinneIpolia 55403                       4148 38 Ava S Mpls 55406
                                                                                                                             LAUSCHE Deon Lee 89 IT                     789-1081
 J:.~ ~~~ ~~.1~~                                   544-4756        LA~C::: ~~                                     420-5502    2200 40Ih Ave Na Columbia HIs 55421                     LAWSON MariaI1 BeIan De GRAD              375-0709
  8932 NorIhwood Pkwy Haw Hops 55427
 LMSON Ranes Rae 89 ClA
  5325 L.akaaide Ave N Cr;s1aI 55429
                                         537-8367                  Ji:.   e:.::.u.::.=.~
                                                                    11203 St Croix Tr So Has1inlIs 55033
                                                                                                                  437-5571
                                                                                                                             LAUIEN Wendy Ann 86 ClA
                                                                                                                              11041 Goodrich CWcle Illooninaton 55137
                                                                                                                             LAUTEIllIACH Michael Ala 88 cIA
                                                                                                                                                                        861.Q209

                                                                                                                                                                        874-7769
                                                                                                                                                                                        2425 E Franklin '213 MpIs 55406
                                                                                                                                                                                      LAWSON Mary Margaret 86 W
                                                                                                                                                                                        4928 HarTie1 Ava MpIs 55409
                                                                                                                                                                                      LAWSON Robert Paul 89 CLA
                                                                                                                                                                                                                                824-1250

 LMSON Richard Alan.86 VET M             847·1098                  LATHROP BriIIl Wesley 87    rr                             14 E FrriJin Ave 12 MinneIpoIis 55404
                                                                                                                                                                                        617 Main 51 Na Minneapolis 55413
                                                                                                                                                                                                                                379-9338
  1438 N Sinpaon 51 Sl P1U155t08                                    1841 Wood St LaCrosse WI 54603                           LAutH Jeffrey Pa1rick 89 ClA               690-2036
 LAIIIOII Richard Benjani 86 ClA         286-2861                  LAnEF Roberta Ann 88 ClA                       332·2885 I  1~7 Palace S1 Pal 55105                                 LAWSON Tallllili Ann 88 ClA
  PO Box 298 Cokato 55321                                           513 E 151h 51122 Mpls 55404                              LAUTH JoIaph Lewis 89 GC .                                 820 Fulton SI Se Mpls 55414
 LARION Robil R 87 NURS                                            LATlIER Debra GRAD                             870-7005    1447 PaIac:e St Pal 55105                               LAWSON Thomas John 89 MED
  2707 et.ly IIIoaaom Ln Menomonie WI 54751                         3209 GirIrd hie S MpIs 55408                             LAYALLEUIlIlANDALL June 118 MED'                           1818 DaylOn Ave. SI. Paul. 55104

 = :~e:e~
  3008 W 102nd 51 Bloomington 55431
                                                   886-8365
                                                                   ~=: g:rve~~ ~'t05
                                                                   LATIMER Robil Ranes 86 ClA
                                                                                                           · ·    890-2507
                                                                                                                  293-8122
                                                                                                                              521 5th 51 S.E. Minneapolis 55414
                                                                                                                             LAYALLEY IolichaeI Todd 8elT
                                                                                                                              719,W CIuchiII Sllwater 55082
                                                                                                                                                                        439-7584
                                                                                                                                                                                      LAWSTUEN David Arndt GRAD
                                                                                                                                                                                        Rr Lanesboro 55849
                                                                                                                                                                                      LAWTON John Carr 86 GC
                                                                                                                                                                                        1112 8Ih 51 Se MpIs 55414
                                                                                                                                                                                                                              .
                                                                                                                                                                                                                                487·2376

                                                                                                                                                                                                                                331·5151
 LMSON Samuel Alan 86 ClA                  827-3024                 77 N Milton 511104 St P1U155114                          LAYAQUE Jacquelyn Jean 89 ClA              227·5084
                                                                                                                                                                                      LAWTON Peter Douglas 89 ClA
                                                                                                                               LA~~=.~.~~~
  3238 CokImbus Ave So MinnalIpoIiS 55407\                         LATSCH 0lMlgIu Eric 89 IT
 LMSON Sandra Marie 86 HE                  755-3902                 Centennial HaII/U Of M MpIs 55458'                                                                  845-2718        1009 W 5th 5t Marshlield WI 54449
  1204 133n1 Ln Na Anoka 55303                                     LATT Joieph Nathan 89 CLA                                    1247 Ray PI St P1U155108                              LAWTONA8EIlY Cynthia M GRAD               788-IlOO9
 LMSON Sandra Marie 89 ClA                 373-7382                 R 1 Box 100 !lasIeI 55325                                  LAVELL Catharine Marie 88 ClA                            1415 liltl Ava Na 1st A Mpis 55418



                                                                                                                               J:= =~-=rs~~~~
  534-E Comslock Hall U Of Un 55455                                LATTERELL MarY Jane 89 ClA                                   1207 181h Ave He MpIs 55418                           LAX Daniela AS MEO                        874·9546
 lNIIOII SIwon Denise 87 PHARM             338-8237                 3867 Hill Ava White IleI< Lk 55110                         LAVELLE EIizabeIh Ann GRAD               432·~4          400 Groveland 1810 Mpls 55403
  1901 MinneIlaha Ave S 1204 Mp1155404                             LATTERY 8ect<y Ann 87 EO                       331·7482                                                            LAXSON David Douglas AS MED
 LAIIIOII S/laryI Ann GRAD                 784-8413                 309 Sill SI Se 1101 Mp1155414                                                                       92U535'         5053 ClI»erl Ava So Mpls 55410




 J:.=
  2803 ColIlIy Rd H 51 Paul 55112             .                    LATTIN Mary Anne 89 etA                                      6137 BirchcresI Dr En 55438                           LAYER Timothy James 87 IT                 886-1228
 LAIIIOII StephInie J 87 DENT                      888-1552         3949 Peters PI 1205 Columbia HIs 55421                     LAVELLE Nancy Lee 89 ClA              ..  533·7625       6845 Columbus Av S Richlield 55423
  2280 PriIdIa 51 18 51 PIUI 55108            _                    LAm E1izabeIh lee Ke GRAD                      699-8378      8409 50th Ava N Haw Hope 55428                        LAYIIAN Anne Marie GRAD
 LAIIIOII Slllpllania Kay 86 CLA                   373-7180         1917 Bohland Ave S1 Paul 55118                             LAYEIITY Bruce R 86 MED                                  1630 S 61ll St 1d616MpIs 55454
                                                                   LATURNIIS MicIlaeI Marti 89 ClA                             LAVWlUVI Hersele 87 IT                                 LAYMAN Elizabeth Allen 86 GC              822·1483
                ='7R~.~~ 835-0504
                                                                                                                  521-2101
                                                                    2315 Golden Veley ReI MpIs 55411                           LAVICK ~ Peter 87 ClA                     871·1580       404 W 31st.it 12 Mpls 55408
                                                                                                                                                                                      LAYMAN Jodie Morrison 86 AG               845-5084
  5220 W 102nd 5113051l1dominglon 55437
 INISOII St.- Nels 86 CLA
  3801 38Ih Ave MpIs 55408
                                                   729-7031
                                                                   LATVALA Brenda Jean 88 aLA
                                                                    1928 Na Johnson 51 MpIs 55418
                                                                   LATVALA Carrie Jean 89 ClA
                                                                                                            ;     781·5180      2718 Hennipen Ave.NoI3 MpIs. 55408
                                                                                                                               LAVIERl Laurel Laraine 87 ClA
                                                                                                                                2809 Fremont Ave S 1314 MinneapOlis 55408
                                                                                                                                                                         277·7196       1619 Carl St ',21.  St Paul 55108
                                                                                                                                                                                      LAYIIION Jolin Howard 89 ClA              869-3165
 LMSON Sleven Wade 86 IT                                           LATZJe Laurie Ann 86 AG                                     LAVIGIIE CIristene Ann AS MED             432·7406       8241 5th Ave S Bloomington 55420
  13827 FI'«Ilila Ln Mmetonl<a 55343                                All Box 286 Howard lake 55349                               7632 W 1571ll St 308 Apple VIIlay 55124               LAYIIION Mary Louise GRAD                 871-6057
 LMSON s.-. l GRAD                            459-2808             LATZKA Patric:ia Lynn AS GC................ ...933-5659     LAVIN Daniel Patrick GRAD                 871·1304       2221 BIaisdoII Ave So 14 Mpis 55404
   8155 He8rIhsida ReI Collage Grove 55016                          5418  s.-..    Dr MinnelonI<a 55343                         1828 Columbus Ave 1203 Mimeapolis 55404               lAZAROIIlisbeth M AS MEO
 INISOII Tan l 89 HE                          421·5733             LA..m~ ~ ~~~ 55.\;4· ·                         331-11027    LAVINE Joseph 87 LAW
                                                                                                                                1400 2nd St S Mpls 55454
                                                                                                                                                                         333-1097       3225 Chicago Ave South MpIs 55407
                                                                                                                                                                                      LAZARUS Sharon Gayle 86 CLA               452·133O
   13315.1.11' 51 Nw Coon Rapids 55433
 LMSON Ten-once Lee 87 ClA                    944-8358             LAU Anthony Benjamil 89 IT                     939-91890-   LAVINE MicIlaeIlee GRAD                   871-6876       1753 Lansfllfd Ln St Paul 55118
                                                                   J~2~~~~ ..~                                    3~15
   9849 Yukon Av Bloomington '55436                                                                                             2101 Garfield Ava.So.I204 Minneapolis, 55405          lAZER Ronda l 87 CLA
 LAIIIOII Theodore Joseph 89 ClA              379-2276                                                                         LAVINE Shari lynn 87 etA                  845-6595     lAZERINE Jamie Beth 89 GC :               373-7134
   823 3rd Ave Se MpIs 55414                                        PO 13442 ~ MpIs 55414                                       1897 W Larpenteur St Paul 55113                         Comstock Hall W113 Minr'oeapois 55455
 LAIIIOII Thomas Andrew 86 ClA            :.. 476-4077             LAU Jeffrey Grier 89 ClA                                    LAVINTIWl Jane W86 GC.......... ..        374-4373     WINSKI Jannell Marie 86 CLA               332.Ql06
   218 GIenbrooIc ReI Wayzata 553111                                5636 Colfax Ave S MpIs 55419                                318 Natchez Ave So Golden Valley 55416                  3745 Orcllard Ave Mpls 55404
 LMSON Thomas Andrew 89 ClA                   572·1109             LAU Kei Shoo GRAD                                           LAYOIE Ma_ Paul 86 ClA                    589-3249     LAZOR Ann Marie 86 etA
   4430 JeIIIrIon St Na Columbia HIs 55421                         LAU ManhoI GRAD                                              1201 571h Ave N ApI'31l<oo1<1yn C1r 55430               275\ Russell Ava N Minneapolis 55411
 INIIllN Thomas Edwin! 87 IT                  934-3728              815 131h Ave Se Apt '205 MinnalIpoIiS 55414                LAW Cheleoog GRAD                         849-3818     LAZOR Beth E_ 87 CLA                      43H770
 • 52081lird1 ReI .....-.. 55343                                   LAU Mary lAargeret A 87 NURS                                 2001 AJbIr 51 Roseville 55113                           6256 134th St W Apple Valley 55124
 INIIllIl Thomas JarMs GRAD                   935-3488             LAU Yuk Ki 89 GC            '                               LAW Katlwyn Ra1hs 86 PHARM                488-1842     LAZOR linda Rose 89 CLA                   522.0310
   ,• .~ ReI SouIh MinneIonka 55343                                 4832 Drew Ava So Mpls 55410                ..               21 Maywood PI St paUl 55117                             2751 Russen Ave N MpIs 55411
 INIIllIl Thomas Robert GRAD                  373-3341             LAUB EtIlan Adam 86 CLl\                  545-3390          LAW Usa Louise 87 OENHY                                LAZOR Mal}' Elizabeth 86 FOR        ..    522.0310
   14.1.2 29Ih St Nw Rochester 55801                                 11405 Perl< Ridge Dr MInnetonka 55343                      All Box 1J Chetek WI 54728                              2751 Russen Ave N Mpls 55411

                                                                                                                                                                                      LARSON - 'LAZOR I STUDENT
             Case 3:23-cv-22130-MCR-ZCB                                                            Document 155-19                                      Filed 03/14/25                           Page 8 of 9
                                                                                                                 ,
310                                                                                                                                                                                                                                                   I
                                                                                                                                                                                                                                                      I
LAZOWSKI Tin Jerome GRAD                  475-3319          LEASK Ian Graham GRAD                                              l.EE CIlihjen Jannifer GRAD                     338-2275    l.EE Kangneung GRAD                       331-64Q5
   1411 08kIand Rd Wayzata 55391                            LEAVELL Kaith J 89 MED                             645-6356           1505 S 4111 SI 18 MpIs 55454                               1012 0 27th Ave. S.E. Minneapolis 55414
LAZlAIlI Soria Maria No GRAD                                  2222 MBlShaII Ava #3'5t Paal55104                                l.EE Choon Heng GRAD                                        l.EE Katherine Sue Yen 88 BUS      :      483-6291
   1225 Fifield Ave St Paul 55108                           LEAVELL Sheila Jo Leek GRAD                        645-6356           1048 - E 27th Ave So Mpts 55414                             128 WPleasant Lk Rd NortI1 Oa~s 55110                   I



                                                                                                                                                                                                                                                      ~
l.E Anh Tuyel87 MEDTC                     340-1524            2222 ManIhaII Ave 13 51 Paul 55104                               l.EE CMstina Teresa 88 IT                       835-4287    l.EE Kin Phing 89 CIA                     560-5460
  16155 4th St M909 MpIs 55454                              LEAVENWORTH Nancy Muir AS MED                      922·9332        . 171 Norman Ridge Dr Bioonington 55437 .                     870 66th Ave N MpIs 55430
l.E Banh Van AS IT                        285-9413            4815 IrYing Ave S MinneIlpcSIs '55409                            l.EE Christopher Jason 89 FOR                               l.EE Kil CIling 88 CIA                    373-6597
  836 41st Nw Ibl05 Roctlester 55901                        LEAVER Sarah FrAnces GRAD                                            4508 N Larkin 5t Shorewood WI 53211                         Territorial Han ~ Mpis 55455
l.E CIien Xuan 88 GC                 :    944-8331            127 West Lake I 302 Mpls !l5408                                  l.EE Christopher John 87 VET M""",,,,,,,,,,,,,, 646-4033    l.EE Kunho GRAD                        : 339-2473
  11315 Westwind Dr Ib Edan Prairie 55344                   LEAVITT Catherine Clar 89 CLA                      724-3766           1191 Thomas AIiSl Paul 55104                            • 1515 S. 41h Slle1112 Minneapolis 55454
l.E Dinh Ball 88 GC                       338-4088            628 Mulberry Ct Bayside WI 53217                                 l.EE Dana Marie 89 MED                                      l.EE Kunyong GRAD                         339-5727
  1601 54th 51111203 MpIs 55454                             LEAVm Cristine Patri 87 AG                         645-8231           1400 2nd 5t So B114 Minneapolis 55454                      1530 6th St S le-1203 Mpts 55454
l.E ~ Minh 88 GC                          338-8397            1475 aeveland Ave N Sl Paul 55108                                l.EE Dalrin John 88 IT                          794-2832    l.E~K= Gffll~iS.554i.4                    331·2046
                                                                                                                               J~0:: ~~::~D~~k ..~~
  601 N. Oliver Ave. MpIs 55411                             LEAVITT PauI.Ioseph 88 IT                          483-9222
~6~ ~8~~iOO9 ..~·55454·343-0071                               4389 Hodgson Rd 5t Paul 55126
                                                            LEAVm Shannon M 86 CIA                             445-2538         772 Curfew 51 St Paul 55114
                                                                                                                                                                              647.9229    l.EE Lisa 86 CIA
                                                                                                                                                                                             1515 S 4th 5t 18813 MpIs 55454
                                                                                                                                                                                                                                          332·1146
                                                              R 2 Shakopee 55379              •                                l.EE David Jonathon 86 CIA                                 l.EE Lori Jane 88 CLA
~~~:5?~i.i.i05 ..MPis..5S454              375-0266          LE88I IkbeI 86 IT                                                     1918 15th A"" So MpIs 55404
                                                                                                                                                                              871-6205
                                                                                                                                                                                             1747 Eugene 51 White Bear La 55110
                                                                                                                                                                                                                                          429-8805



                                                            J==
l.E Falix David GRAD                      n~56                700 10th Ave So 112 MpIs 55414                                   l.EE Debra Metzger GRA'D                       645-0236    l.EE LIltlg AS IT
   1826 Radatz Ave MIpIewood 55109                          l.EIlEAU Gerald John 88 IT                         868-3136           1845 W Larpenteur Apt 10 51 Paul 55113                     1771 Chatham Ave Arden Hilts 55112
                                                                               ~~El2 ~.~1~20..9 6gg.9903
l.E Ha Thanh 88 CIA                                                                                                            l.EE Donghun GRAD                          ;   379-7855    l.EE Margare1 Wing Sheu 86 HE                   339-7840
  2520 Silver In 1102 51 Anthony 55421                                                                                           425 Erie 51 1302 Mpls 55414                                 1530 S 6th5l1el109 MpI.55454
l.E Hai V 86 IT                           37~237               1430 Hartlord 5t Paul 55116                                     l.EE Dongsoo GRAD.                 ..          339-5084    l.EE Mea 89 GC                                  ~23
   16154th. Sl Apt M2211 Minneapolis 55454                  l.EBERT Anita Elizabeth 88 HE..                       822-8761       1400 5 2nd, 51 I b4ll8 MpIs 55454                          722 Capitol HIs 5t Paul 55103 •
l.E Hieu Van 88 IT                        739-2756             4326 Fremont Ave So Mpls 55409                                  l.EE Dungming GRAD                                         l.EE Melissa Arm 88 NUR5                        623-0432
  728 W Somnit Ave Fergus Falls 56537                       LEBERT Juan M GRAD                                    646-0132        1100 5th 51 So Mpts 55414                                 333 8th 5t Sel319 MpIs 55414
l.E Hoa Nhu 88 CIA                                             1235 Fifield SI Paul 55108                                      l.EE Edmond Thomas 88 GC                       938-1965    l.EE MIIissa Eun 87 BlOSC                       881~15
l.E Hung Quang 88 IT                      527-8030          LEiEwrTZ cJodj Sue 88 CIA                                            1318 PresIon In HopI<ins 55343                             8710 Sheridan Ave 5 Bloonington 55431
  809 49-112 Ave He Columbia Heig 55421                        8139 W 18th 51 MpIs 55426                                       l.EE Elizabelh Anne 87 AG                 ..   646-3970    l.EE MIchael GRAD                               645-0Z!6
l.E Hung Ouoc 86 IT..                     636-7485           LElIUNC Basil Charles AS MED                                         2067 Carter Av St Paul 55108                               1845l.arpejrteur Ave 11051 Paul 55113
  2837 N AshIuy St Roseville 55113                             1272 latKeI Av Saint Paul 55104                                 l.EE Eric J 89 AG                                          l.EE Michael Alten 88 CIA                       426-9591
l.E Huong Kin 88 CIA                      340-1524           L£8LANC Dennis Keith 87 CIA                          429-2993        Rr 2 Dexter 55926                                          9885 Justan T/1iI White Beer 55110
  1615 54th 51 1m909 Mpls 55454
l.E Huy POO 86 IT                         332~211
                                                               3709 51 Regis Dr White Beer Lk 55110
                                                             LElILOllD John Knight 86 PH                          784-3853
                                                                                                                               l.EE Eric Lapwai GRAD..
                                                                                                                                  912 Essex SI Se MpIs 55414
                                                                                                                                                                 .            379-1887    ~~~ ~J':foii                           ·       ·644-2900
  1601 4th 51 11305 Minneapolis 5?"54                          7965 4th Ave Uno Lakes 55014                                    l.EE Eun Kook GRAD                             ~1          l.EE Michael David 86 IT                        331-7696
l.E KhlInh Quang 89 IT                    452·8830           LEBO Debra Beth 89 MED                                               1515 S 4th SI #1101 Mpis 55454                             809 6th 51 So Minneapolis 55414
  1965 SiIverbeII 1313 Eagan 55122                             632 Erie St So 11 MinneepoIis 55414                             l.EE Fangchan GRAD                             379-2392    l.EE Michael Francis 88 CIA
l.E Uen Thi 87 CIA                                          l.E80WSKI Jeffrey F 88 LAW...                         938-5231        1010 Essex 51 So 1201 MpIs 55414                           4836 Townes Rd Edina 55424
l.E loan Minhthi 87 IT                    333-8277             3350 Decaki< In MpIs 55426                                      l.EE GaIy Cou 86 CIA                           827-4105    l.EE MIchael Kurt 89 IT                         373-6500
  1601 54th 5111414 Mpls 55454                              l.E80WSKY Trissa Paulen 88 HE                         935-8201        5415 Girard Ave 5 Mpis 55419                              417 WaJoot Se Mpls 55455
l.E Minh Canh 87 IT                                            327 Sanford Hall Ootm Mpls 55455                                l.EE Gary Yuen 86 CIA                          451~7       l.EE MicIlael Roy GRAD                          540-8187
  475 L.aIond 51 Paul 55103                                 l.EBRE Sleven Robert 89GC                             822-6128        55 E Imperial Dr W St Paul 55118                          6710 VIIlIlOll fl.ve So 1311 Edina 55436
l.E loIinhha Thi 89 GC                     333-8277            3412 Park Av So Minneapolis 55407                               l.EE Gaynelle R AS ED                 .        269-7398    l.EE Mi1cheII Alten 88 GC                       874-7211
  1601 54th St 11414 Mpls 55454                             LEBRECK Carol Lae Korb GRAD                                           401 S 13th 51 Montevideo 55719                             1600 Stevens Apt 30 Minneapolis 55403
l.E Nga Van 88 GC                          511·5764         LEBRECK MauIice Franci AS ED                                       l.EE Georgia Robyn 87 CIA                                  l.EE Patrick Joseph 86 IT                      854-3985
  110 61st Ave He 16 Fridley 55432                          l.ECHEVAUER Mark Antho 86 CIA                         777·9788     l.EE Grace K 86 ED                             333-8950      9101 18th Ave 5 Illoonington 55420_
l.E ~ TI\II19 88 IT                        77~56              3400 Glen Oaks Ave Wht Beer Lk 55110                                210 W. Grant 5t I 508 MpIs 55403                        l.EE Pater PoonChun 87 IT               .
  1826 Radatz Ave Maplewood 55109
l.E Ngoc Hong 87 BUS                      224·1253
                                                            l.ECHIIER John     rhomas  88 CIA                                  l.EE Gregory Allen 89 IT..
                                                                                                                                  313 Territorial Blaine 55434
                                                                                                                                                                              757·1371       3929 Grand Ave S Mpls 55409
                                                               8521 Ironwood Tr N Lalce 6tmo 55042                                                                                        l.EE PaterWaiman GRAD                           37~19

~7~        n:P:
  622 Humboldt Ave 51 Paul 55107
                      ~·i03·
l.E PI1uongIan Thi 88 IT
                                 ~       ·188-9781
                                          343-0071
                                                            l.ECIlNER Julie Kay GRAD
                                                              3012 Boone Av S 51 Louis Park 55Ql
                                                            l.ECKTENBERG Scott A 87 IT
                                                                                                                  933-8615

                                                                                                                  623·3667
                                                                                                                               LU Gr8QOfY Mal1hew 87 CLA
                                                                                                                                  1295 Willow Dr N Long Lk 55356
                                                                                                                               LEE Hochoon'89 CLA
                                                                                                                                  1515 S 4th St I E 603 MplsS5454
                                                                                                                                                                       .
                                                                                                                                                                              476-1831

                                                                                                                                                                              339-5452
                                                                                                                                                                                             Cantenhial Hall 13120 MpIs 55455
                                                                                                                                                                                          l.EE Sal<yun GRAD
                                                                                                                                                                                             2082 Como Ave Apt 6 St.PauI 55108
                                                                                                                                                                                                                                          647-0407

  161554th 5t   ,,,,'009
l.E Qua Van 87 IT
                         Mpis 55454
                                          645-6271
                                                               516 5th 51 So Mpts 55414 •
                                                            l.ECKEY David Allan GRAD                              642·1354     ~~,~~~n~R:~ Minne8POiiS·5~i.4                  ·623;9166
                                                                                                                                                                                          LEE Sang Yaub GRAD
                                                                                                                                                                                             425 13th Ave. 5.E. 11508 Mpts 55455
                                                                                                                                                                                                                                          331-6128

                                                               1226 Gilbs Ave St Paul 55108                                                                                               l.EE Sangdong 86 CIA                           376-8919
  124751 Anthony 12011 51 Paul 55104                        l.ECKEY Wifiam Boadma 86 CIA                          378~5
                                                                                                                               l.EE HUBnehih GRAD                              647·1258      Bailey Hall St Pau 55108         .           '
l.E Ouan TI\II19 GRAD
  1826 Radatz Av MIpIewood 55109
                                          77~56                613 Oak St So Mpl. 55414
                                                            l.ECKNER CIlrisIopher Jo 88 CIA                       869-7896
                                                                                                                                  1977 Knapp Ave E-4 SI Paul 55108
                                                                                                                               l.EE Hunjoo 89 IT                              559·9290    l.E~,~ ~            =.etts4';'4                379-ll785-
~7=t.;:~i.;A·55i·ii3·· ..·..·..·..··..····488.9781             7525 Colfax Ave 5 Richfield 55423                                  5360 Norwood In Plymouth 55442
                                                                                                                               l.EE Hye Sung GRAD                  :          642-1513
                                                                                                                                                                                          l.EE Seokyoung GRAD                             647·1524
                                                            l.ECLAIRE David Jon 88 GC                             699~706                                                                   2051 Knapp Ave. W-2 St. Paul. 55108
l.E OIly Van 88 CLA                           571·5769         1751 51 aair Ave St Paul 55015                                     l~.~ifiBld Av St Paul 55108'                            l.EE Saung Ho 89 IT
  110 61st Ave He 16 Fridley 55432                          l.ECLAIRE Jean Marie 88 GC                                         l.EE nyv Sol< 86 CIA      .
                                                                                                                               l.EE Hyon Mi 88 CIA                                           7352 James Ave No Brooklyn Park 55444
~~5~t~~ ..            MiiiS..5S454           339·9678          615 Fulton 51 So Rm 443 MinnaepoIis 55455
                                                                                                                                                                              535-6830
                                                                                                                                                                                          l.EE Seungyoung GRAD                          642·1487
                                                                                                                                  5630 Welcome Ave No Crystal 55429
l.E Tan Minh 88 IT                                          l.ECOCQ James H AS IT                                              l.EE Hyun Kyu 88 CLA                           333-3918       1300 Gibbe Av St PIlII56108         .,
                                                               605 2 Ave Nw waseCa 56093                                                                                                  l.EE Sheraen Joyce 89 IT                 ; 376-7964
~,~=~ ~.Ri'jjic'j&.S5433.; ....... 757·9424                 LEDBETTER Jacquelyn Ef AS HE
                                                                                                                                  1515 S 4th SI 18601 Minneapolis 55454
                                                                                                                                                                                             Pio.- Hall Rm 545 Minneapolis 55455
l.E Thanh Quang 89 IT                                          2153 E 8m Springfield MCl65602                                  ~,18~tiuL*~~G:~ pjWj·55113 646-6867
                                                                                                                                                          S;:..                            l.EE Sao Jin AS ED                           449-7990
  124751 Anthony 11115 5t Paul 55104                        l.EDER Richard Owen GRAD...........              .... 623-9609     l.EE II Yang GRAD                         379-1901            16315 28th Ave No Ptymouth 55447
l.E ThanhIoan Thi 89 CLA                     529-5105          18 Arthur Av So 113 Minneapolis 55414                              1038 27th Av So Ie MpIs 55414                           l.EE Soak Won 88 IT-
  801 CIver Ave MinnaapoIis 55411  .                        l.EDERER A"'f Susan 87 CLA                            473·2882     l.EE IIhyun 87 CLA                        ~177             l.EE Soak Young GRAD                          642·1295
                                                               3132 Hwy 101 Wayzata 55391                                         1724 Rollins Ave So MinneapoMs 55414                    . 1159 Fifield Av N-4 St P8IlI55108
~~'rt~ ~4?;:MjiiS..          55454..·......·.... 333·82n    l.EDESIlA Debora Molina GRAD                                                                                                  l.EE Soua 88 IT     ;      :                  313.Q643
l.E Trang Thuy 88 IT                                        l.EDOER Darrall Jay 87 LAW..           .... 0         378-1267 \   l.E~:'~~ 8~.Deiii.M;,p,S.5&i.S5 ......... 373-4137            6317 CantannlaI Hall Mpls 56455
  622 Humboldt 51 Paul 55107                               • 1630 5 6th Minneapelis 55454                                      l.EE Intae GRAD                                            l.EE Steven Joseph 88 GC
                                                            LElllN Kristin M87 CLA                                379-9566                                                                   3440 Sumter Ave 5 51 Louis PI< 55426 '
l.E Tri Gia 88 CIA
  1247 51 Anthony Av 11116 51 Paul 55104
                                         644-4277
                                                               1108 6th St So 1202 Mpis 55414                                  l.E~J~t ~~D#4·M~·55414 ..·..· .. 379-1320                  l.EE SungcheoI GRAD                           379-3104
l.E Tri Quang 86 IT                      340-1524           LElllN Sondra Kay 88 CLA.. .. .. .          . ..... 379-9566       l.EE James Duane 87 CLA                     827·1195           1060 27th Ave So Ie MpIs 55414
   161554th 51 1m909 Mpls 55454                                1108 8111 5t So'Mpls 55-414
                                                            l.EDOUX Dean Allen 87 LAW                             623-4133
                                                                                                                                  3833 Nicollet Ave So Minneapolis 55409                   L.}~on= ~55455· ..·........· .. · ..· ...... 373-6921
l.E Tu Dinh87 GC                         780-4787                                                                              l.EE Janice Elizabeth 86 CLA                473-9154
  3200 39th Ave He 5t Anthony 55421                            801 University Ave Minneapolis 55414                               1050 Zanzibar Ln Ptymouth 55447        •                l.EE Susan Ann 88 DENT
l.E WiIiam Minh 86 IT                    642·9003           LEDUC Annelle Louise 86 AG                            379-4969     l.EE Jeffrey Alan. GRAD                     822~37         l.EE Su8fn Haajung 88 AG                    333-6096
  1247 St Anthony Av 1sp4 51 Paul 55104                        1762 Eustis Laudardate 55113                                      3229 Oakland Ave 5 Mpts 55407                               1515 5'4th St 11902 Mpls 56454
LEACH Paul MicIlael 88 IT..              338·1187           l.EE Andrew Rueunpuu GRAD                             379·1839     l.EE Jettray David 87 GC                    454·9767       l.EE Suzanne Marie 89 CLA                   373-7078
  1515 11th Ave 5 Apll2 Minneapolis 55404                      507 151h Ave So #4 Mpis 55414                                     3410 Surrey Hghts 51' 1212 St Pa~155122                     G44 Comstock Hall 210 Mpts 55455
LEACH Timothy Kevin 86 CIA                                  l.EE AMa Maysun 87 HE ....         .........,........ 721-4~~      l.EE Janl1l1er Kay 86 BUS            ::     822-6571       l.EE Terri Jean 86 IT                       927·9123
LEAF Gary Dean 86 CLA                    545-5306          . 4209 28th Ave 5 Mpts 55406                           .              4436 Bloomington Ave S Mpls 55407                           4422W 36th 51 St Louis Part< 55416
  2205 VIIlIlOll Dr Mtka 55343                              l.EE Barbara Ann 89 IT                                894·1485     l.EE Jin Kyu 87 IT..      .-              ; 333--3918      l.EE Theodore E 86 AG                       645-1676


                                                                                                                                      =
LEAF Karl Eric 87 IT      :              927-8527              919 No 8th 5t Staples 56479                                        1515 S 4th 5118601 MjJls55454                              2024 Commonweatth Ave ASI St Paul 55108
   56331Mng Ave 5 Mpis 55419                                l.EE a.th l.uisepfund GRAD                            874-0460     l.EE Jin Sao 88 CLA                         633-5163       l.EE Thomas M 86 IT                         331-8077
                                         378~347               2443 3rd Ave 5 l.el8 MpIs 55404                                                                                               1110 Pinehill Dr AtbelI Lea 56007
                                                                                                                               JiOJ~             w..~.~'o.".S.S.'.'.~
LEAF Krist. Jon 86 IT...
  611 6th St So MpIs 55414                                  l.EE Beth Suzanne Mor1e GRAD                          494-0:119                                              371.9033         l.EE Threang Kin 89 GC            :         339-3518
~~ ~~~;·4 ....·..· ~                       ·.. 6~0123       J~7~~LAA~.~~.~ ..~.~                               824-9515
                                                                                                                                  1601 4th St So 11323 Minneapolis 55454
                                                                                                                               l.EE Joe Yae AS MED                       222-8961
                                                                                                                                                                                             1615 So 4th St Im1212 Mpts 55454
                                                                                                                                                                                          l.EE Tianyu Tom GRAD                     .. 623-7846
LEAF8LAD JoaIIlewane 86 AG                    646-2000        3929 Grand Ave S MinneaPolis 55409                                . 6948 StraUord Woodbury 55125                               1229 7th 51 So MpIs 55414
 2060 Caller Ave 5t Paul 55108                              l.EE Biong 88 GC                                   ~53             l.EE John 86 IT                           824·9515         l.EE TlIIIOthy Scott 89 IT            ..    373-4083
LEAHY Anne 88 CLA                             338-3179        300 Deyton Ave 117 St R",155102                                     3929 Grand Ave 5 Mpls 55409                               .2408 W Main AtbelI Lea 56007
~~F=~:JCt~                                                  ~~~A~R~DpM;i.55.i08
                                                                                                                                                                                          ~~~'1=           ~9~ 55434
                                                                                                               644-5000        l.EE John Chartes 89 GC
                                             696-6652                                                                             501 3rd Ave So Minneapolis 55414
   1875 BeechwOOd Ave 5t Paul 55116 •           .           l.EE Boniface Kaihey GRAD                          339-1840        l.EE John Pallick 87 CIA          •                        l.EE TI1IVis Randolt 86 CLA.........       ......... 37~
LEAK£ Ann F _ GRAD                           425·7538         1530 S 6th 51 Icl109 MpIs 55454                                     11970 45th I.ve NortI1 Ptymouth 55442                     414 7th St So Mpis 55414
   523 IlirdlCIost River Falls WI 54022                     LEE Bratt Alexander 89 GC                                          l.EE John Patrick 86 CIA       :          757-3144         l.EE Vang 88 GC                                 7l4~74
 l.EAU Anthony Francis 87 IT                                  205 Arbor Ln BumsviIle 55337                                        9900 BI.-d St 1310 Coon Rapids 55433                      629 E M'1r1ll8IlIha Ave 51 Paul 55101
   400 ~ 5t St. Paul 55104                                  l.EE Bratt Edwald 89 AG                    641·1264                l.EE Jon Andrew 86 CIA                    938-2315         l.EE Vivian Wailong GRAD                     376-6247
LEARN Chlnho 87 BUS                          881-8829'         1720 Larpanleur Ave 12H Falcon Height 55113                        405 Adams A"" 5 HopI<jns 55343                            9466 CantenniaI Hall UlM Mpis 55455
   8115 CIinlon Ave 5 Bloomington 55420                     l.EE Brian William GRAD                    937·2429                l.EE Jong Chang GRAD                      642-1061         l.EE Wanki GRAD                              645-4909
LEARY Anne Marie 86 CLA
!.EARY 8aIbara Ann Buet< GRAD
   1382 W Iowa Ave 51 Paul 55108
                                             646-8732       l.E~~~~: ~~""~s.~s..... 341~
                                                              15155. 4th SI. EI807 MpIs 55454
                                                                                                            .,       .
                                                                                                                                  2000 Knapp Ave SI. Paul 55108
                                                                                                                               ~~,f':t, H5~ :~·M~S·5&i54···               · 338-5213
                                                                                                                                                                                            408 NortI1 Cleveland #102 5t Paul 55104
                                                                                                                                                                                          LEE Wen Cheng 86 BUS_
                                                                                                                                                                                             1615 S 4th St 1m-504 Minneapolis 55454
                                                                                                                                                                                                                                        375-9441
!.EARY Timothy John 88 CIA                .. 379-8424       l.EE Byung Hwa 88 CIA                              341~            l.EE .long Ye GRAD                   ~       339-2590      l.EE Yang V 89 GC                             774-9747
   715 8th A"" So Mpts 55414                                   1515 S 41h St #e-1807 Mpis 55454                                   16155 4th St Iml607 MpIs 55454                             604 Bates Ave SI Paul 55106
                                                                                                                                                                                           ~~o~:A~:~~ p~~i·55;o8
LEARY Timothy Joseph 88 CIA..           .... 378-9223       l.EE Changjin GRAD                        338-8394                 LEE Joohee GRAD                              644-4222                                                ... 642·1513
   1125 5th St So Mpts 55414                                   1400 2nd 51 S # e402 Minneapolis 55454                             1985 Knapp Ave Apt W-4 SI Paul 55108
l.EASE David Edwald 89 FOR                   874·7187       l.EE CIli Fung 89 CLA                                              l.EE Julie Ann Bray 88 ~C ...... ...    .... 645-6522       LEE Yonggoo GRAD                               379·1957
   2736 Blaisdell Ave S 1208 Mpis 55408                        1600 5 6th # m416 Mpis 55454                                       574 5anfold Hall UIM Mpts 55455                            1047-A 29th Av So Minneapolis 55414
!.EASE Sleven Donald 89 GC                                  l.EE Chiapyng GRAD                        373·5688                 l.EE Jung Soak GRAD........,.             .. 379-4051       LEE Yongkn GRAD                                379-7416
   9113 12200 St Hugo 55038                                    105". 29th Ave So Minneapolis 55414                                628 41h St So Mpls 55414                                  1038 B 27 Ave So Minneapolis 5541~

STUDENT I LAZOWSKI - LEE
                       Case 3:23-cv-22130-MCR-ZCB                                                            Document 155-19                                   Filed 03/14/25                           Page 9 of 9

                                                                                                                                                                                                                                             311
  LEE Yooog Heun f<S IT                       331-7s:,2     ~HTO Stuart Duane 88 CLA..................       ..... 378·2126   ~MIEUX Lori AM 86 HE                          822-7057      ~NO Darren Scott 87 CLA                        236-9113
    1024 2711l Ave Se I l034B. MpIs 55414                    318 8th SI Se/Uppet' lApIs 55407                                  3828 Bloomington Aye So Mpis 55407          .               118 37th Ave S Moorhead 56560
  LEE Yunwoo GRAD                             373-7127     ~I Sizheng GRAD                                                    ~MIEUX Paul George 87 IT                      '379-7580     ~NORT Dean Lamont 87 IT                   :. 378-1659
    Comstock Hall U/M MpIs 55455                             Mllard Hall UlM MifVl88PO's 55455                                  1717 University Ave Se Minneapolis 55414                   800 UniversitY Aye Apt 24 Minneapolis 55414
 LEECE Thomas Dean 87 CLA                    642-1173      ~18EUisa Kay 88 ED                        ......... 774-2976       ~MIEUX Sem James 88 GC                           425-0775 . ~NOX Kathleen Rae GRAD                       586-1097
    2008 8l8wsl8r 51 1303 SI. Paul 55108                     1327 Oarence SI Paul 55106                                         114 WEagle Lake Or Maple Grove 55369                       3800 Brookdela CirIe Brooklyn Park 55443.         .
  LEECH B<enda J f<S MED                                   ~18EL Pa1ricia Jo 88 HE                                            ~MINH Tam Thanh 87 IT                                       LENSS James Albert 88 BUS                    929-3854
    217 West Franklin 12 lApIs 55404                         805 W 5th Aye Pine City 55083                                    ~MINH Tan Thanh 86 IT                                        3430  List PI 11103  Minneapolis 55416
 LEECH Georgia Gale 86 UCOl                                ~I8EL Thomas Rober189 GC                             774-2976      LEMIRE Cynthia JeaMe 88 CLA                      292-9329   ~NT Sendra Myhre GRAD                        546-7301
 LEECH Michael Anthony GRAD            _     886·5448        1327 Clarence St Paul 55106                                        188 E. Wyoming Sl 51 Paul 55107                            1902 Independence Avo N. Golden Valley 55427
    4824 W 11111l 51 Bloominglon 55437                     ~IER John J098Ph 88 IT                               735-3035      ~MIRE James Alan 87 CLA                          537-ll497  LENTNER Gloria 87 NURS                       759-9533
 LEEfELDT Marl< ChlII1es 86 CLA               623-4858        55 Nelson St St Paul 55119                                        4416 AbboII Ave No Robbi1sdaIe 55422                       2300 Stinson Blvd Minneapolis 55415
    18 Ar1hur Avo So MpIs 55414                            ~IFERIlAN Margrit LOlli 87 NURS             627·1860               ~MIRE ).iss Marie 88 CLA                         482·9141   ~NTNER Joan Denise 88 CLA                    529-2673
 LEEK Carolyn P 87 CLA                                        5151 Belmonl Aye S Mpis 55419                                     4705 Kevin Ln Shoreview 55112                              4533 Irving Ay N Mpls 55412
    1618 Vermillion Rd Dulath 55812                         LEIGH Staci Joann 88 CLA                   623-7605               ~MIRE Nancy Ellen 87 CLA                         331-6193   ~NTNER Joanie 1.4 GRAD                       347-8141
 LE£KLEY Charles F 88 CLA                    473-8446         1512 Brook Ave So MpIs. 55414                                     225A 8th Ave So Minneapolis 55414                          One Wesl laJ<e Stl405 Mpls 55408
   2670 MlrshlMJd Rd Wayzata 55391                          ~tGHTOtl Daniel Franci 68 LAW              227-2350               ~MKE Diane lorraine GRAD                                    ~IITSCII Barbara AM 89 CLA                   722-ll192
 ~~ Y Stephen 88 MED                         823-1988         16 Benllill Rd St Paul 55105                                    ~MKE Jacqueline Marie 88 CLA ....._ .......... 623-7707       5506 28th Ave So Minneapolis 55417
    5531 121tl Avo S Minneapolis 55417                      ~IGHTOtl JoIln Devid GRAD                  544-9706                 425 13th Avo Se 1605 MpIs 55414                           ~NTSCH Chelyl Elizabe 89 CLA                 455-6917
 LEEPER Eric MicIlael GRAD ~                 338-5570         10830 40111 Aye No Plymouth 55441                               ~IIKE James Patrick 89 IT                                    298 Betty Ln Wesl SI Paul 55118
• 1615 S 411l St I m3OO2 MinneaPolis 55454                  ~IGHTOtl Kimberly Ann 89 GC                431-7519                 2417 E 53rd St Inver Grv HIs 55075                        ~NTSCH Richard John 89 ClA                   722-ll192
 ~ Alison Jeri 88 HE ,                       755-5943         1400 E 131s1 51 Burnsville 55337                                ~MKE Joel Robert 89 IT                          373-8371     5506 28th Ave So Mpis 55417        ,
    2302 115lh Ave Nw Coon Rapids 55433                     ~1GHTOll Margaret MarY 88 LAW            : 457-0326                 Territorial Hall I1E-146 MpIs 55455                       LENTSCH Rosemary Helen 86 ED                 488-1901
 LEERVIG Stoven Andrew 88 CLA                                 435 E Arion 1203 W 51 Paul 55118          ,                     ~MKE Kilsten Lucile 89 CLA                       373-7279     1319 Woodblidge SI Paul 55117
    721 Adams St Anoka 55303                              . ~1GHT0tl Pa1ricia Lou 87 MED                                        324W Comstock Hall UlM Minneapolis 55455                  ~NTSCH William Patrie 86 IT                  455-6917
 LEES Muon Rick 87 CLA                       455-2522       ~IQHTOtl R~rt Joseph 88 CLA                433-7806               LEMKE Paul Jeffrey 89 IT                , 373-6353           298 Betty Ln W 51 Paul 55118
   7 Ponds Edge Ad South 51 Paul 55075                        100 2200 St Sw Austin 55912                                       Territorial Hall U Of M Mpls. 55455                       LENTZ Jennifer Marie 88 HE                   781 565
 LEEllOIl CIetk Alfred GRAD                  386-5280       ~IQHTY Leann 87 IT                                                ~IIKE Susan Elizabeth 89 GC                     645-1136     3200 TownYiew Avo 51 Anthony 55421
    416-S0 711l 51 Hudson WI 54016                            2750 121st Ln Nw CoooRapids 55433                                 2177 Carroll St Paul 55104                                ~NTZ Kevin Lawrence 87 AG                    645-5620
 LEETE Jeenette Helen GRAD                   483-8208       ~IK Berbere K Galush f<S EO-                                      LEMKE Thomas Dean 88 CLA                         645-1136    2415 Carter Avo SI Paul 55108
    862 S Monterey Ct Shoreview 55112                       ~IN Todd MicIlael 88 CLA                   379-1598                 2177 Carroll Aye SI Paul 55104                            ~NTZ   Randall  Hensen   87 CLA              721-3101
 LEFAVOR Lauren Renayo 99 IT                                  400 Se 511l St Minneapolis 55414                                LEMKE Trtlcy Steven 89 IT                       939 753      3836 Minnehaha Ave MpIs 55406
    12227 Certway Crv Eden Prairie 55344                    ~IN8EAGER William Joh AS IT                881-4413                 2640 Bluebird Ln Cottage Grove WI 53507                   LENTZ RodricI< David GRAD
 LEFEBER Susan J M 89 CLA                                     9110 lyndale Ave S 6 BIoomingtDn 55420                          LEMLEY James Bradford 87 BUS                   ,831·3945    LENTZ Tereas Mas 88 CLA                      2711-3385
    1482 Red Cedar Rd Eagan 55121                           ~INER Greg Alan 89 CLA               .                              3316 Shepherd Hills Dr Bloomington 55431                   R 2 Box 181 Good Thunder 58037                        I
 LEFEBVRE Paul Douglas 87 CLA                522-1890      _ 3956 Crystal l.I< RoIllJinsdaIe 55422                            ~MM Patricia Brook 86 ED                        646-8525    LENVlK Todd Richard 87 BiOSC
   2910 Sheridan Ave f.l lApIs 55411               I        ~INER Lori Lea 89 GC                                                1280 Reymond Ave 14 SI Paul 55108             ..          LENZ Andrea Denise 89 CLA
 I.EFEBVRE Pete< Doneld 88 AG                823·9820         886 Hell Aye SI Paul 55107                                      ~MMON Denise Durene 86 CLA                       441-2459    5224 37th Ave S MpIs 55417
   954 1511l Ave Se MpIs 55414                              ~INES CI1ristopher Tod 88 CLA              588-8885                 11369 Brook Ad EU< River 55330                            ~NZ Eric Richard 87 CLA                      925-3545
 LEF£YEIl Marl< Ray 88 CLA                                    4944 Sorell Ave Mpls 55422                                      ~MMON Marcia Jan GRAD                                        3031 Ewing Ave So #347 Minneapolis 55416
   R 1 IloJ< 359 Rush City 55068                            ~INGANG Timothy Franc 86 BUS               373-6805                 Comstock Hall U 01 1.4 Minneapolis 55455                  LENZ Howard Thomas Jr 86 DENT                729-5433
 L£FFEIIT Nency Hechl f<S ED                 925-3108         1504 9th Ave Nw Mandan NO 58554                                 ~MMONS Beth Marie 87 ED                          735-4347 . 5147 34th Aye S Mpis 55417
   4517 Cesco Avo Edina 55424                               lElNtNGEIl Anna Maria 88 BIOSC             298.Q676                 1914 Ebertz Ct 51 Paul 55119                              ~NZ Jay Otivor 87 MED.                       757·1098
 LEFFLER Scott Lawrence 88 GC
   7221 s-w Aye S Richfield 55423
 LEfflER Todd Jay 87 BUS           ; :
                                             861·1554
                                             571.Q671
                                                           J:.:r:~:e5~1:                 ED
                                                            10833 Oxborough Avo 8Ioomington 55437
                                                                                                         :      881-6654
                                                                                                                              L£MIIONS Bruce Andrew 88 CLA
                                                                                                                                1914 Ebertz Ct St Paul 55119
                                                                                                                              lEIION Eric Scott 88 CLA
                                                                                                                                                                               735-4347     1161 98Ih Ln N W Coon Rapids 55433
                                                                                                                                                                                          ~NZ Joseph 1.4 89 CLA
                                                                                                                                                                                           9492 Stillwater Blvd laJ<e Elmo 55042
                                                                                                                                                                                                                                       777-2052

    5798 JetIerson 51 Fridley 55432                        ~ININGER John Michael 89 ciA           484-2553                      4976 Georgia Ln While Beer l.I< 55110                     LENZ Kathryn Elizabeth GRAD         ;        788-2916
 ~O Stelana Lee 89 CLA                       645 944         457 Sextant Avo W 51 Paul 55113                                  LEMOS Jose GRAD                                  332·7172     2812 SiIvor Ln No 1209 51 Anthony 55413
   1526 Grantham 51 St Paul 55108                          ~ININGER Larry Allan 86 FOR                   :      378-0000        2220 E Franklin Ay 1116 Minneapolis 55404                 ~NZ Tlfl10thy Dthmar GRAD                    381·2955
 LEfROIS HoUy Anne 87 CLA                    338-4456        11317 S 08kdaIe Rd Minnetonka 5S343                              ~MPE Eric Joel 87 GC                            623-0064     1210'Nw 13th Street. 1104 Boca Raton FL 33432
   201230th Ave S MpIs 55406                               ~INO Stanley James 88 CLA                            780-4039        1401 6th St Se Minneapolis 55414                          LENZ Wiliem Leroy 87 BUS                     774-8383
 ~FTO Edward Roy 88 CLA                      698-3173        7387 Memory Ln Fridley 55432                                     ~MTOUNI Tarik 88 CLA                             378-9402     1837 Birmingham 51 Paul 55106       .
    1331 Murray 51 51 Paul 55116                           ~INOCAREY Carol Marie f<S ED                                         700 5th Ave Se Minneapolis 55414                          ~NZMEIER Lois AM 87 CLA                      623-9767
 ~O HarTy C AS CLA                           698·3173       635 Betes Ave SI Paul 55106                                       WABURG Susan Diane 86 CLA                        871-ll499   526 11th Ave So 1304 Minneapolis 55414
   1331 MlITIIY St SI Paul 55116                           ~IR Mary AM 89 IT                             373-6567               1912 3rd Ave S 126 lApIs 55404                            ~NZMEIER Mary Margere 88 CLA                 331·5585
 ~GATOR Howard.William 88 CLA                               8-391 Territorial Hall Minneapolis 55455                          ~NARO Scott Jason 89 CLA                         484-9102    514 Huron SI Se 14 Minneapolis 55414
   800 UniYOr.lity Avol2 Mpls 55414                        LEISER Christine Beth 89 CLA                  482-1795               485 lovell Ave Roseville 55113                            ~O MicIlael Andrea 87 IT                     331·5962
 ~GEAULT Tommy Sue 87 MEDTC                  331-7698        1004 Glen Paul Ct Shoreview 55112                                ~NARZ Amy Ann 89 CLA                             553-1677    417 WalnutSt So Minneapolis 55455
   10.15 So 20th ~vo Mpls 55414                            ~ISER Jennifer Paul 88 MED                                           4210 Trenton Ln Plymouth 55441                            ~Otl Bruce AS CLA                            935-2420
 ~GEL Valerie Ann 87 CLA                                    1004 Glen Paul Ct Shoreview 55112                                 ~NARZ Gayle Marie 87 HE                          553-1677    8301 W 30 1/2 Minneapolis 55426            _
 ~GER Daniel Robert 88 IT                    560-1857      L£lSHIIAN Ivan M 87 ED                        338-5701               4210 Trenton Ln Plymouth 55441                            ~Otl H~ Rekita 87 CLA                        933-5746
                                                                                                                              ~NARZ Joseph Patrick 87 ED
                                                                                                                                                                                              ~~~":~~
   9220 West River Rd Brooklyn Park 55444                   2300 FllInkfin Ay E 405A Minneapolis 55406                                                                         537·3452
 ~GEROS Done l.<luise 88 NURS
    5020 Edinbrook Ln Edina 55436
                                             829-7792      ~ISlNG Lynnette June 87 BUS
                                                            16756 WhiI1ington Walk Eden Prairie 55344                         ~ ~er:~g~~~                                   ,451.2930
                                                                                                                                                                                          J:
                                                                                                                                                                                          2937 29th Ave So MpIs 55406
                                                                                                                                                                                                                                         721-7067
 ~GEROS Elena Christin 88 ED                 544 299       ~IS'I!R TlIllOthy Cecil GRAD                  722-5047               5770 Babcocl< Tr Inver Grv HIs 55075                      ~Otll.ewrence MicheaI 87 BIOSC
   2201 Quebec Dr St LouiS Park 55426                       3115 33rd Avo So Mimeapolis 55406                                 ~NCZEWSKI Ann Therese GRAD                      888-1842      111 N Lincoln SI Aberdeen SO 57401
 ~GG Thomas Daveney GRAD                     755-6567      ~1SZ James Tony 86 CLA                    :.. 774-3804               10606 Yosemite Ad Bloomington 55437                       ~Otl Theodore 0 88 CLA                     623-0891
   10110 Olive SI Nw Coon Rapids 55433                      1705 E Ivy St SI Paul 55106                                       ~NCZEWSKI John Paul 88 LAW                      888-1642      1000 UnIY Aye So 114·2 Minneapolis 55414
 ~GLER Jana Alison 88 LAW                    336-8036      LEITE Melanie Ann 89 CLA                                             10606 yosemite Rd BIoonlinaton 55437                      ~ONARD Cynthia lynn 88 MED                 377-4647
    1414 South 3rd SI #;302 Minneapolis 55454               R 2 Volga SO 57071                                                WDWAY James David 86 EO                 :       890-0053      2837 Humboldt "vo. So. I 1 Minneapolis 55408
 ~GLER Quintin BredIey 88 FOR                454-1810      ~1THE1SlR Agnes Teres 86 PH                   593-5710               2111 Lincoln Ay St Paul 55105                             ~ONARD Deborah Susan 89 CLA                373-6592
                                                           ~E~CNW~~~1
   510 Lone Clak Rd Eagan 55121-                                                                                              ~NOWAY Thomas Robert 89 IT                      484-3498      417 Walnul St Rm 424 Minneapolis 55455
 ~GRIED ChIene Leslie GRAD                   642·1815                                                           633_9297        5699 Tur1le l.I< Rd Shoreview 55126                       ~ONARO lalI'a Jean GRAD
   1707 Tatum Ave ApI 3 51 Paul 55113                        2770 Forest Dale Rd New Brighton 55112                           LENERTZ JeaMe Marie GRAD                        881-5887    LEONARD Linda Kay GRAD                     722-0918
 ~GUS CaITie J GRAD           ..             426-9307      ~lTMER Lori Lee 88 CLA                               282-5530        8837 Xerxes Cir So Bloomington 55431                        2534 18th Aye S M'mnneapolis 55404
   4185 McKnight While Bear La 55110                         2614 11th Ave Nw RochestJIT 55901                                ~NERTZ Karen Lee GRAD                           451-3698    LEONARD Linzee W~1iam 89 CLA               633-9584
 ~HFELOT Lynnae 89 CLA                                     ~ITSCHUH Barbara Jean 87 ED                                          250 Dessa Ln S SI Paul 55075                                1795 Chalham Avo Alden Hills 55112
   312 S Stevenson Otalhe KS 66061                           8308 Sheridan N Brooklyn PI< 55444                               ~NERTZ Patrick John 88 BUS                      890-5073    lEOtlARO Patrick James 88 CLA              533-9962



                                                                             =                                                                                                            J~~': ~~: f:..~~~
 ~I\IlAN Alice Cecelia GRAD                  825-9713      ~IVISKA John Rein GRAD                               881·7183        3102 Keating Ct Burnsville 55337
   3305 Hennepin Avo 1204 MpIs~                                                                                               ~NGSFELO Gregory Walt 87 CLA
                                                           ~~4~A~~mtr~ ..~~
                                                                                                                                                                              724-3201                                                   588-6691
 LEHMAII Cynlhia Lea AS'ED                                                                                      227-0150        4239 Minne11ah8 Aye S MpIs 55406                            2111 Indiana Ave N Golden Valley 55422.
   1723 W 140111 BlmlViIle 55337
 LEHIlAN Gaye Kathleen GRAD                  647·9742     .J~~:                   8~3:GSl Paul 55105                          ~NGYEl Jeffrey Matlhe 88 IT..
                                                                                                                                327 S 71 at Ave W Duluth 55807
                                                                                                                                                                              824-2524    ~ONARD Timothy John 89 CLA
                                                                                                                                                                                            Middlebrook Hall Rm 712 MpIs 55455
                                                                                                                                                                                                                                         376-6528

   1608 Eustis 1302 St Paul 55108                            1458 Cleveland Ave N St Paul 55108 .                             ~NGYEL Monica Andrea 89 CLA                     373-6602    ~ONARD WlWTen BueIord GRAD                     425-6984
 ~HIIAH Heather lael 89 CLA                  546-7588      ~KANOER Kristine Grac 86 AIL                  647-ll151              10..\17 Territorial Hall U Ot M MpIs 55455                 386 West ChurcIl River Falls WI 54022
   3660 Saratoga Ln Plymouth 55441                           1404 Raymond Avo. 18 SI Paul 55108                               ~NHARDT Mary L AS ED                                        ~ONAROO Rolanda 88 CLA
 ~IlMAN Howard Porter GRAD                   721-4252      ~LAND Oennis Gordon 86 MED                                           5552 Blaisdell Ave S MpIs 55419                             326 West 3rd SI Lewes DE 19958
   24142411> Avo S 12 Minneapolis 55406                      925 W Willow SI Datroit laJ<es 56501                             ~NIWIT Carol L GRAD                             474-5841    ~ONE Barbara A f<S MED
 LEHIlAN JoIln Anthony AS IT                 825-5132      ~LANO HalMichael 86 MED                                              6575 Pleasanl VI8W Wey Chanhassen 55317                    1012 Laurel Ave SI Paul 55104
   3700 Grand Ay S 16 MpIs 55409                             1707 North Fry Falcon Hghts 55113                                WHART Kevin MicIlael 88 CLA ........./......... 890-2832    ~ONE Richard James 88 PHARM              378-1009
 LEHIlAN Kevin Roger 88 CLA                  483-0830      ~LAND Jene VaJorie GRAD                       376-4794               13025 Welcome Ln BumsviIIe 55337                           924 17th Ay Se 1204 Minneapolis 55414
                                                                                                                              ~N1US David Albert 89 IT                                    ~ONE Todd Anthony 87 IT
  ~~m~=~~.~~~~..
                                                             1334 Eckles Ave St Paul 55108
                                            .894-9359      ~LANO Nancy lee GRAD                    ..    224-4050               2101 So Irving·Ay Minneapolis 55405                        6012 Voncent Aye S MpIs 55410
  5188 W 141st 51 Savage 55378                               864 Goodrictl AYe. SI Paul 55105 .                               ~NN Duane Edward GRAD                           724-9528    ~ONG A~son M 87 BUS                      376-6667
 LEHIIAN Michael Joseph 89 CLA                             lELAND Paullvor 88 BUS                        331-5887               2221 26th Aye So Minneapolis 55406                         Middlebrook Hall 1111 Minneapolis 55455
                                                             1621 University So G5 Mpls 55455                                 ~NNANDER Margaret C 88 IT                                   ~ONG Larry James 88 CLA
 ~~:~~.~
                                                                                                                                                                              824-7765                                             633·7587
                                                           ~LAND Sheryl A Jonas 88 ED
   1615 S 4th 51 #m3003-loliMeapolis 55454·
  ~1lMANN Kenneth Campbe 89 GC
                                           338-5213
                                                             103SF 29th Ave So Minneapolis 55414
                                                           ~IIAHIEU Edward W AS IT
                                                                                                         331-6538               3909 Bryanl A S 1sl FI Mpls 55409
                                                                                                                              LENIIANDER Paul Joseph 87 CLA
                                                                                                                                220 Easl 19th SI 1307 Minneapolis 55403
                                                                                                                                                                              872-1780    J::O  ~~::~'\f.~.5.5.~.~~
                                                                                                                                                                                           986 15th Ave Se 112 Mpls 55414
                                                                                                                                                                                                                                         379-7546

  4016 Heathcote Rd Deephaven 55391                          3840 Granada Way Clakdele 55109                                  ~!lNEIlAN Annette JOSM 87 LAW                   481.Q693    ~ONG Michael David 88 CLA                      633-7587
 LEHIIANN Lorene Janel 88 CLA                              ~IlAIRE Gregory Allan GRAD                                           2670 N Oxtord 1221 Roseville 55113                         1995 Sioux Blvd New Brighton 55112
 ~1lMANN Martha Anne GRAD                 227-6366         ~MAY Douglas Gerard 87 VET 1.4                488-7926             LENNINGTOtl James Call GRAD                     644-8449    ~ONG Patrick 89 IT                             379-8762
  971 Goodrich Avo 12 SI Paul 55105                          1159 Autumn SI Roseville 55113                                     1186 Ray PI St Paul 55108                                  801 14th Aye Se 14 MpIs 55414
 ~ Sandy f<S ED                           535-2683         LEMAY Gregory Alan 88 CLA                                          ~NNON Delores Rae f<S LAW                                   ~ONHAROT Bret Kelly 87 IT                780·3386
  4018 Hubbard Aye N RoIllJinsdale 55422                     2233 Gilbert Ln S St Paul 55075                                   .1867 Princeton Ave SI Paul 55105                           9280 UniversitY Ay 1340 Coon Rapids 55433
 LEHN JecI< lawrence GRAD                 484-5842         ~IlAY Jean GRAD.                              699-9507             LENNON James Jason 89 CLA                                   LEOtlHARDT Michelle Ann 89 CLA           941-7088
  2261 Coon Rapids Blvd Coon Rapids 55433                    1484 Summit Ave 51 Paul 55105                                      1015 Overlook SI Paul 55118                                7708 W 64 St Circle Bloomington 55436
 LEHN Jeffrey Mark GRAD                   587·3626         '~MAY Lawrence Theodor 87 IT..                331-2135             ~NNON John Edward 87 IT                                     ~0P0l0 Patrick J 88 GC                  633-4528
  985 Herrington 51 Hutchinson 55350                         1100 4th St So Minneapolis 55414                                   1706 Bayard St Paul 55116                                  2747 Fernwood Roseville 55113
 LEHN Rodney Paul 89 GC                   378-1415         ~MAY Martin Joseph 88 CLA..............    .. 378·3893             LENNON Kevin LyM 87 IT...                       544-3321    ~OPOLO Stovan Edward 89 GC               633-4526
                                                                                                                                                                                          J~~~= ~:.,~J'.~~.1.~
   110914th Ave So Mpis 55414                                2854 Churchhlll St Roseville 55113                                 25 Union Torr Ln Ptymouth 55441
 ~HNEN Frank Aloys 87 GC                  537·5340         ~M8CKE Daniel Lee AS MED                      560-2002             LENNOX Christopher Dav 89 IT                                                                               698-ll431
  =~~C~.~.~
   1124 17th Ave Se IoIinneaIlOIiS 55414
                                             623-4703      J:~cw::~:ru~~ 5.~ 379-8809            .
                                                             815131h Avo Se 1116 Minneapolis 55414
                                                                                                                                7547 Lakeside Rd Fridley 55432
                                                                                                                              ~NNSTROM Heidi Annett GRAD
                                                                                                                                504 Sheperd Labs Minneapolis 55455
                                                                                                                                                                              376-9022
                                                                                                                                                                                            1796 Beechwood Ave 51 Paul 55116
                                                                                                                                                                                          ~::~~'f"Y tl:=~·55433                  .....   757-1702
  ~ .Jo8nIl ElIine lie ClA                    l!45-4e38   , ~MEREOESONIER Calla C 89 GC            374·9428                   ~NO Christina Joy 88 CLA .....               .. 373-6644    LEPAGE Scott MicIlael 89 CLA
  ~7' CoM:tl Ad#20S 51 Paui55108              .              1770 Hennepin Minneapolis 55403                                    Senford Hall U/M Mpls 55455                                126 104th Ln Nw Coon Rapids 55433

                                                                                                                                                                                               LEE - LEPAGE I STUDENT
